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11                               UNITED STATES DISTRICT COURT

12                              NORTHERN DISTRICT OF CALIFORNIA

13
                                                 Case No.:
14    JOHN DOE, as next friend of minor
      plaintiff, JANE DOE,                       COMPLAINT
15
                   Plaintiff,                       (1) Fraudulent Concealment and
16                                                      Misrepresentations
17    v.                                            (2) Negligent Misrepresentation
                                                    (3) Negligence – General
18    ROBLOX CORPORATION and                        (4) Negligence – Failure to Warn
      DISCORD INC.,                                 (5) Negligence – Unreasonable Design
19                                                  (6) Negligent Undertaking
                   Defendants.                      (7) Strict Liability – Design Defect
20                                                  (8) Strict Liability – Failure to Warn
21

22                                               JURY TRIAL DEMANDED

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 1            John Doe, as next friend of minor Plaintiff Jane Doe (“Plaintiff”), brings this action against

 2 Roblox Corporation (“Roblox”) and Discord Inc. (“Discord”) (collectively, “Defendants”) to

 3 recover damages arising from the severe injuries that Plaintiff suffered because of Defendants’

 4 respective conduct in creating, designing, marketing, and distributing their mobile- and web-based

 5 applications (“apps”), and alleges as follows:

 6       I.   INTRODUCTION

 7            1.     This action seeks to hold Roblox and Discord accountable for recklessly and

 8 deceptively operating businesses in a way that led to the sexual exploitation and attempted rape of

 9 Plaintiff. The heinous acts against Plaintiff were committed by a dangerous child predator whose

10 actions were possible only because of the egregiously tortious conduct of Defendants.

11            2.     Through their pervasive patterns of misrepresentations about safety, Defendants

12 portray their apps as safe and appropriate places for children to play. In reality, and as Defendants

13 well know, the design of their apps makes children easy prey for pedophiles, and Defendants had

14 no appropriate safeguards to ensure that children were in fact safe or that predators were screened.

15 There are steps that Defendants could have taken to protect children and to make their apps safer.

16 But time and again Defendants have refused to invest in basic safety features to protect against

17 exactly the kind of exploitation that Plaintiff suffered.

18            3.     The reason for Defendants’ unlawful conduct is simple: Defendants prioritize

19 growing the number of users of their apps over child safety. As one former Roblox employee

20 explained in describing the company’s approach to child safety, “You have to make a decision,

21 right? You can keep your players safe, but then it would be less of them on the platform. Or you

22 just let them do what they want to do. And then the numbers all look good and investors will be

23 happy.”1 Discord has taken the same approach to child safety on its app. Defendants’ prioritization

24 of growth over the safety of children has devastated the lives of children who use their apps.

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    Roblox: Inflated Key Metrics for Wall Street and a Pedophile Hellscape for Kids, Hindenburg
     1

28 Research (Oct. 8, 2024), https://hindenburgresearch.com/roblox/.

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 1          4.      Plaintiff is a 14-year-old girl who was an avid user of Defendants’ apps for several

 2 years. She relied heavily on the apps for entertainment and social interaction, making her a prime

 3 target for the countless child predators that Defendants knew were freely roaming the app looking

 4 for vulnerable children.

 5          5.      Plaintiff was targeted on Roblox by a predator who posed as a fellow child and

 6 exploited Plaintiff’s age and vulnerability to build a false emotional connection with her by

 7 promising friendship and connection. After capturing her trust, the predator escalated his grooming

 8 of Plaintiff on Roblox and then also on Discord. He sent Plaintiff graphic messages describing

 9 sexual acts he intended to do to her and sent her sexually explicit images of himself.

10          6.      The predator ultimately convinced Plaintiff to meet him in person. Around January

11 2025, he traveled from another state to Alabama and arranged to meet Plaintiff at a fast-food

12 restaurant near her home. When the predator arrived there, he took Plaintiff to a nearby location

13 and attempted to rape her. Plaintiff resisted, and fortunately, law enforcement arrived during the

14 encounter, finding Plaintiff in a state of extreme distress. She was shirtless, with bruises on her

15 arms and legs. The predator had his genitals exposed and was attempting to forcibly remove

16 Plaintiff’s pants to rape her. Police arrested the predator, who is currently incarcerated.

17          7.      Plaintiff suffered this sexual exploitation and abuse as the direct result of

18 Defendants’ conduct. For years, Defendants have misrepresented and deliberately concealed

19 information about the pervasive predatory conduct that their apps enable and facilitate. Had

20 Defendants disclosed the truth of what was really occurring on their apps, Plaintiff’s father would

21 never have permitted Plaintiff to use these apps without his strict supervision. Had Defendants

22 taken any steps to screen users before allowing them on the apps, Plaintiff would not have been

23 exposed to the large number of predators trolling the platforms. Had Defendants implemented even

24 the most basic system of age and identity verification, as well as effective parental controls,

25 Plaintiff would never have engaged with this predator and never been harmed.

26          8.      Plaintiff has suffered unimaginable harm. Her innocence has been snatched from

27 her forever. Tragically, what happened to her is far from an isolated event. Indeed, Plaintiff is just
28 one of countless children whose lives have been devastated as a result of Defendants’ gross

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 1 negligence and defectively designed apps. This action, therefore, is not just a battle to vindicate

 2 Plaintiff’s rights—it is a stand against Defendants’ systemic failures to protect society’s most

 3 vulnerable from unthinkable harm in pursuit of financial gain over child safety.

 4    II.    PARTIES

 5           A.     Plaintiff

 6           9.     Minor Plaintiff Jane Doe, and her father and next friend John Doe, are citizens and

 7 residents of the State of Alabama, with a principal place of residence in Covington County.

 8           10.    Plaintiff has suffered profound and enduring harm. This includes significant

 9 emotional distress, psychological trauma, and mental anguish. Plaintiff’s experiences have led to a

10 loss of trust, safety, and personal security, depriving her of the opportunity for a normal and healthy

11 development. The injuries she sustained are severe, ongoing, and permanent, affecting her daily

12 life and emotional health in lasting and immeasurable ways.

13           11.    Plaintiff never entered into any contract with Defendants. To the extent Defendants

14 claim that Plaintiff attempted to accept an electronic terms and conditions clause by clicking

15 buttons on a screen that included language that Plaintiff did not read or understand, such an

16 assertion is legally erroneous, invalid, and unenforceable, including because Plaintiff disaffirms

17 any such contract, including any forced arbitration clause and any delegation clause in any contract.

18           B.     Defendants

19           12.    Defendant Roblox Corporation is a Delaware corporation with its principal place

20 of business in San Mateo, California. Roblox owns, operates, controls, produces, designs,

21 maintains, manages, develops, tests, labels, markets, advertises, promotes, supplies, and

22 distributes the Roblox app. Roblox is widely available to consumers throughout the United

23 States.

24           13.    Defendant Discord Inc. is a Delaware corporation with its principal place of

25 business in San Francisco, California. Discord owns, operates, controls, produces, designs,

26 maintains, manages, develops, tests, labels, markets, advertises, promotes, supplies, and

27 distributes the Discord app. Discord is widely available to consumers throughout the United
28 States.

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 1 III.     JURISDICTION AND VENUE

 2          14.     This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1332(a)

 3 because Plaintiff and Defendants are citizens of different states and the amount in controversy

 4 exceeds $75,000.

 5          15.     This Court has personal jurisdiction over Defendants because they maintain their

 6 principal places of business within this District.

 7          16.     Venue is proper here under 28 U.S.C. § 1391(b) because (1) both Defendants are

 8 residents of California and reside in this District and (2) a substantial part of the events or omissions

 9 giving rise to the claims occurred in this District.

10          17.     Divisional Assignment. Assignment to the San Francisco Division or the Oakland

11 Division is proper under Civil L.R. 3-2(c) because Roblox and Discord are headquartered in San

12 Mateo and San Francisco, respectively, and a substantial part of the events or omissions giving rise

13 to the claims occurred therein.

14   IV.    FACTUAL ALLEGATIONS AS TO ROBLOX

15          A.      Roblox Offers a Gaming App for Children.

16          18.     Launched in 2006, Roblox is an online gaming app that allows users to play myriad

17 games, which the company refers to as “experiences.” There are currently more than 40 million

18 experiences within the Roblox ecosystem. Most experiences on Roblox are created not by Roblox

19 but by individuals (often Roblox users) or companies that develop their own games and make them

20 available on Roblox for others to play.

21          19.     Roblox is easily accessible, including to children. It is free to download and play and

22 is available on gaming consoles, computers, tablets, and cellular devices.

23          20.     Roblox is designed to be an interactive experience, allowing and encouraging users

24 to communicate with each other. Gameplay interactions, user hubs, direct messaging, and voice chat

25 all promote social interactions between users. Roblox’s co-founder and CEO David Baszucki has

26 explained that his vision is for Roblox to bring about “the next phase of human interaction,” which

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 1 he also has described as “a new category of human coexperience.”2 Roblox has similarly explained

 2 that it “operates a human co-experience platform . . . where users interact with each other to explore

 3 and develop immersive, user-generated, 3D experiences.”3

 4          21.    Roblox designed its app for children. Roblox has marketed its app not only as the

 5 “#1 gaming site for kids and teens”4 but also as an educational experience for young users. Roblox

 6 claims that it provides “new gateways into learning”—from “chemistry to physics to robotics and

 7 more, Roblox experiences bring concepts to life in ways that immerse learners and motivate

 8 exploration, play, and deep thinking.”5 These offerings, according to Roblox, include “high-quality,

 9 standards-aligned, immersive educational experiences designed by curriculum experts.”6

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                             Roblox webpage – “A New Era of Engaged Learning”
20          22.    Roblox’s popularity among children exploded during the pandemic when the app
21 was flooded with millions of new users as kids were confined to their homes and glued to their

22

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   2
     David Baszucki, Co-founder and CEO of Roblox, The CEO of Roblox on Scaling Community-
24 Sourced Innovation, Har. Bus. Rev., The Magazine, (Mar-Apr 2022), https://hbr.org/2022/03/the-
   ceo-of-roblox-on-scaling-community-sourced-innovation.
25 3
     Roblox Corp., Quarterly Report (Form 10-Q) (Mar. 13, 2021).
26 Roblox, What Is Roblox, http://web.archive.org/web/20170227121323/https://www.roblox.com/
   4

   (archived Feb. 27, 2017).
27 5 Roblox, A New Era of Engaged Learning, https://corp.roblox.com/education (last visited Feb.
   11, 2025).
28 6 Id.

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 1 devices. By September 2020, roughly 30 million people, more than half of them under 13, were on

 2 Roblox daily, making it the world’s biggest recreational zone for kids.

 3          23.    That growth has continued unabated. In Roblox’s 2023 Annual Report, the company

 4 reported an average of 68.5 million daily active users, with 21% under 9 years of age; 21% from 9-

 5 12 years of age; 16% from 13-16 years of age; and 41% over 17 years of age.

 6          24.    Today, Roblox is the most downloaded online game globally, and the average user

 7 spends 139 minutes a day on the app.7

 8          25.    Individuals who wish to play Roblox must create an account. It is extremely easy to

 9 “SIGN UP AND START HAVING FUN!” Users must provide only a birthdate, username, and

10 password. Users of any age can create an account. There is no age minimum. Roblox does not

11 require users to verify their age upon sign-up, so they can easily represent that they are younger or

12 older than their actual age.

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24                                        Roblox Sign-up Screen

25          26.    Although Roblox states that children must have parental permission before signing
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   7
     Qustodio, Research by App Category – Gaming, https://www.qustodio.com/en/the-digital-
28 dilemma/gaming/ (last visited Feb. 11, 2025).

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 1 up for an account, nothing prevents them from creating their own accounts and playing on Roblox.

 2 Roblox does nothing to confirm or document that parental permission has been given, no matter

 3 how young a child is. Nor does Roblox require a parent to confirm the age given when a child signs

 4 up to use Roblox.

 5         27.     After creating an account, all users are assigned a default player avatar—a cartoonish

 6 character that represents the individual user within certain games.

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13                                      Example default avatar on Roblox.
14         28.     They can then play in millions of experiences on the app. These games are sorted
15 into different genres/categories, such as Sports, Role-Playing Games, Fighting, First Person

16 Shooters, Fashion, Horror, Comedy, Military, and Naval. The games recommended to a user will

17 vary based on the age the user entered when generating their account and Roblox’s algorithm that

18 recommends games to the user.

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                                   Examples of games available on Roblox.
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           29.     Until November 2024, Roblox configured its app to default to settings that allowed
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 1 adults to easily communicate with children. Adult strangers could “friend” and chat with a child of

 2 any age via direct (i.e., private) message. Further, even without being “friends,” adults could also

 3 chat with a child of any age within a Roblox experience through direct messages.

 4          30.     Now, under Roblox’s default settings, adults cannot directly message children under

 5 13, but Roblox still does nothing to prevent children this young from creating accounts with fake

 6 13+ birthdates, which gives them full access to Roblox’s direct-messaging options. Roblox still

 7 relies on self-reported birthdates for age verification. Further, children 13 and over are still

 8 vulnerable to receiving friend requests—or direct messages within Roblox experiences—from adult

 9 strangers. There is also nothing that prohibits adults from entering fake birthdays and posing as

10 children in their attempts to friend or otherwise communicate with children users.

11          31.     Roblox generates revenue largely by selling users an in-game digital currency called

12 Robux, which they exchange for digital content such as online experiences and customized outfits

13 and appearances for their avatars. Robux can be purchased in a single transaction or a user may

14 subscribe to receive Robux on a recurring basis with a Roblox Premium membership. Roblox also

15 offers Robux gift cards that anyone can purchase and send to any user.

16          32.     Children frequently become obsessed with purchasing or otherwise obtaining Robux

17 to buy items for their avatars and to spend in their favorite experiences on Roblox. In Roblox’s

18 Avatar Store, for example, the company sells rare items at astronomical prices, such as a type of

19 hair for an avatar, which children seek to purchase to keep up with or outdo their peers on Roblox.

20 As a result, children often tell others, including strangers, that they will do “Anything for Robux.”8

21          B.    Roblox Lures Parents into Letting Their Kids Use Roblox with Promises of

22                Safety.

23          33.     Roblox’s success and continued growth have hinged on its constant, false assurances

24 to parents that its app is safe for children. The company has offered such assurances throughout its

25 history and in every forum possible—on its website, through public promises of its highest

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   8
     Olivia Carville & Cecilia D’Anastosio, Roblox’s Pedophile Problem, Bloomberg Businessweek
28 (July 23, 2024), https://www.bloomberg.com/features/2024-roblox-pedophile-problem/.

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 1 executives, in news articles, on podcasts, and on and on.

 2            34.   Over the years, Roblox has repeatedly represented on its website that its app is safe

 3 for children and has touted the safety controls it has in place. As early as 2007, Roblox’s website

 4 assured parents that Roblox is an “online virtual playground . . . where kids of all ages can safely

 5 interact, create, have fun, and learn.”9

 6            35.   From 2008 to 2016, the website continued to promise parents, “We take every

 7 precaution possible to make sure kids are protected from inappropriate and offensive individuals as

 8 well as from indecent and distasteful content.”10 It also assured parents that Roblox had a zero-

 9 tolerance policy for “swearing and obscenities, messages and content of a sexual or violent nature,

10 and any sort of aggressive or threatening communication,” and “immediately suspended or

11 permanently expelled” any offenders.11

12            36.   The website has consistently sought to paint Roblox as “family friendly” and safe for

13 children of all ages. In 2017, Roblox began declaring that it “take[s] kids’ safety and privacy very

14 seriously” and “strive[s] to continually develop new and innovative technologies that will protect

15 the safety of our community while allowing players to imagine, create, and play together in a family-

16 friendly environment.”12 Roblox similarly has advertised its app as “a safe, moderated place to meet,

17 play, chat, and collaborate on creative projects.”13

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21   9
       Roblox, Frequently Asked Questions (FAQs),
22   https://web.archive.org/web/20071105104643/http://www.roblox.com/Parents/FAQs.aspx
     (archived Nov. 5, 2007).
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        Roblox, Keeping Kids Safe,
     https://web.archive.org/web/20080501101437/http://www.roblox.com/Parents/KeepingKidsSafe.a
24   spx (archived May 1, 2008); see also Roblox, Information for Parents,
     https://web.archive.org/web/20160131063648/http://corp.roblox.com/parents (archived Jan. 31,
25
     2016).
     11
26      Id.
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        Roblox, Parents’ Guide,
27   https://web.archive.org/web/20170716032712/https://corp.roblox.com/parents/ (archived Jul. 16,
     2017).
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        Id.
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12                                 Excerpt from Roblox Parent’s Guide in 2017
13          37.    Roblox’s website representations have remained largely unchanged since then. In
14 2023, for example, Roblox assured parents that it “continually develop[s] cutting-edge technologies

15 to ensure that the Roblox platform remains a safe and fun space for players all over the world.”14

16 Roblox claimed that the company was “dedicated to working together with parents and digital safety

17 experts to promote a family-friendly environment that allows all players to imagine, create, and play

18 online.”15 Roblox emphasized that it is “committed to ensuring that Roblox is a safe and fun place

19 for everyone.”16 According to Roblox, it “goes above and beyond to foster an environment where

20 people of any age can create, play, learn, and imagine safely. We’ve kept children’s privacy and

21 safety top-of-mind when designing our platform, especially through the implementation of advanced

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      Roblox, For Parents,
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   https://web.archive.org/web/20230405060048/https://corporate.roblox.com/parents/ (archived
26 Apr. 5, 2023).
   15
      Id.
27 16 Roblox, Roblox FAQ,
   https://web.archive.org/web/20230328011957/https://corporate.roblox.com/faq/ (archived Mar.
28 28, 2023).

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 1 text filters that block inappropriate language or other unsafe content.”17

 2          38.    Roblox’s website today contains similar assurances. It claims, “Safety is in our DNA:

 3 when Dave Baszucki and Erik Cassel launched Roblox in 2006, they spent a few hours each day

 4 with the community, helping to ensure that Roblox was a safe and welcoming environment. Safety

 5 was their top priority, and they made constant improvements in their moderation, both for content

 6 and for communication on the platform.”18

 7          39.    According to the current website, Roblox “won’t allow language that is used to

 8 harass, discriminate, incite violence, threaten others, or used in a sexual context.”19 Roblox touts a

 9 “stringent safety system and policies,”20 which include its “expertly trained team with thousands of

10 members dedicated to protecting our users and monitoring for inappropriate content”; its “safety

11 review of every uploaded image, audio, and video file, using a combination of review by a large

12 team of human moderators and machine detection before they become available on our platform”;

13 and its chat filters for inappropriate content, which “are even stricter” for children under 13 and

14 “include any potentially identifiable personal information, slang etc.” 21

15          40.    These false promises and assurances are not confined to Roblox’s website. They are

16 repeated in statements by the company’s highest executives—including in direct response to

17 concerns raised by parents.

18          41.    In 2009, a blogger wrote about blocking Roblox because he doubted its safety for his

19 children. CEO David Baszucki responded to the blogger reassuring him that Roblox flags

20 “obviously offensive content” and removes it, and if “something is marginal, but gets flagged as

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22
      Roblox, Roblox & User Data FAQ, https://en.help.roblox.com/hc/en-
     17

23 us/articles/4406238486676-Roblox-User-Data-FAQ (last visited Feb. 11, 2025).
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24 resources?section=news&article=safety-comes-first-on-roblox (last visited Feb. 11, 2025).
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      Roblox, Safety Features: Chat, Privacy & Filtering, https://en.help.roblox.com/hc/en-
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   us/articles/203313120-Safety-Features-Chat-Privacy-
26 Filtering#:~:text=Players%20have%20different%20safety%20settings,and%20phrases%2%200tha
   n%20younger%20players (last visited Feb. 11, 2025).
27 20 Roblox, Safety & Civility at Roblox, https://en.help.roblox.com/hc/en-
   us/articles/4407444339348-Safety-Civility-at-Roblox (last visited Feb. 11, 2025).
28 21 Id.

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 1 inappropriate,” Roblox “investigate[s] immediately.”22

 2          42.     In a 2013 Wired interview, when asked whether a parent should be concerned about

 3 whom his child was chatting with in-game, Baszucki declared, “We take every precaution possible

 4 to make sure kids are protected from inappropriate and offensive individuals as well as from

 5 indecent and distasteful content,” taking a sentence verbatim from Roblox’s webpage for parents.23

 6          43.     Tami Bhaumik, Roblox’s current Vice President of Civility & Partnerships, has

 7 doubled down on these promises in statements to parenting magazines, news outlets, and podcasts—

 8 all aimed at persuading parents to let their children use Roblox. She also has contacted international

 9 online safety experts in an effort to sell Roblox’s safety story.

10          44.     As recently as 2024, Bhaumik told Parents Magazine that “[w]e have a responsibility

11 to make sure our players can learn, create, and play safely. This continues to be our most important

12 priority and that will never change.”24

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21          45.     Such statements by Bhaumik date back years. In 2018, Bhaumik told the Washington
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      Eric Frenchman, Revisiting Roblox, Pardon My French (Oct. 5, 2009),
     22

26 https://pardonmyfrench.typepad.com/pardonmyfrench/2009/10/revisiting-roblox.html.
   23
      Tony Sims, Interview with David Baszucki, Founder & CEO of Roblox, Wired (Feb. 7, 2013),
27 https://www.wired.com/2013/02/roblox/.
   24
      Maressa Brown, Is Roblox Safe for Kids? Here’s What the Experts Have to Say, Parents
28 Magazine (Apr. 29, 2024), https://www.parents.com/kids/safety/internet/is-roblox-safe-forkids/.

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 1 Post that Roblox “focus[es] on making sure that everything is done in a safe and appropriate way.”25

 2 That year, she also claimed to another newspaper that Roblox’s “safety team reviews every uploaded

 3 image, video, and audio file used within our games to make sure they are safe and age appropriate.”26

 4 She also boasted that Roblox has “created extensive parental controls for our games and a detailed

 5 Roblox Parent’s Guide that provides information to parents to help create a Roblox experience that’s

 6 best for their child.”27

 7          46.     In 2019, while presenting on a “Digital Civility Panel,” Bhaumik emphasized that

 8 “[w]e make sure there’s a safe environment,” citing Roblox’s “tremendous reporting system” and

 9 “incredible moderation and CS team that reacts very, very quickly.”28 On that same panel—and in

10 contradiction to Roblox’s representation that it had always taken “every precaution possible” to

11 protect children—Bhaumik conceded that “digital civility did not exist at Roblox a year and a half

12 ago and we established this and made it a movement within our company.”29 She added later, “It’s

13 still very early days for us. This whole digital civility focus for Roblox is still there, we’re just still

14 establishing it.”30

15          47.     In a 2022 video interview about safety on Roblox, Bhaumik asserted that Roblox’s

16 “number one priority” is “to create a safe, civil, and inclusive community” and that “[s]afety and

17 civility has always been baked into everything that we do.”31 That year, on a podcast, she also

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      Hayley Tsukayama, Roblox, an Online Kids Game, Explains How a Hack Allowed a
20 Character’s Virtual ‘Rape’, Wash. Post. (Jul. 17, 2018),
   https://www.washingtonpost.com/technology/2018/07/17/roblox-an-online-kids-game-explains-
21
   how-hack-allowed-characters-virtual-rape/.
22
   26
      Chris Pollard, Police Warn that Children as Young as Five-Years-Old are Seeing Naked Lego-
   Type Characters Having Sex on Roblox App, The Sun (Jan. 29, 2018),
23 https://www.thesun.co.uk/news/5445444/roblox-app-children-danger-sex-warning/.
   27
      Id.
24 28 YouTube, Digital Civility Panel (Oct. 23, 2019),
   https://www.youtube.com/watch?v=XoUs1Js7WG0&list=PLcKphP00N1_kCLjvcOWdwbegJkNS
25
   L-CuL&index=6.
   29
26    Id.
   30
      Id.
27 31 Video Interview with Tami Bhaumik, Roblox’s VP of Digital Civility & Partnerships (2022),
   https://www.facebook.com/bedford.sheriff/videos/roblox-how-to-help-kids-use-itsafelyrobloxs-
28 vp-of-digital-civility-partnerships/1338989609901259/.

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 1 bragged about Roblox’s purported safety protections, including “thousands of human moderators

 2 on the front lines” and “machine learning that is constantly taking a look at chat filters.”32 With

 3 these and other measures, she exclaimed, “[a]ny sort of bad actor that comes onto the platform is

 4 dealt with swiftly” and “[w]e remove any content that’s reported to us within minutes.”33

 5          48.    In 2023, Matt Kaufman, formerly the Chief Systems Officer for Roblox, was

 6 appointed Chief Safety Officer, at which point he too began peddling Roblox’s child safety

 7 narrative.

 8          49.    In a 2024 blog post on Roblox’s website, Kaufman asserted that “Roblox has spent

 9 almost two decades working to make the platform one of the safest online environments for our

10 users, particularly the youngest users. Our guiding vision is to create the safest and most civil

11 community in the world.”34 According to Kaufman, “For users under 13, our filters block sharing

12 of personal information and attempts to take conversations off Roblox, where safety standards and

13 moderation are less stringent.”35 A few months later, he added, “Safety is and always has been

14 foundational to everything we do at Roblox.”36

15          50.    In a later blog post, Kaufman touted Roblox’s “track record of putting the safety of

16 the youngest and most vulnerable people on our platform first.”37

17          51.    Kaufman also recently told NPR that “any time anything happens to a child that puts

18 them at risk is one too many.”38

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        YouTube, Into the Metaverse, Podcast: EP.21: Tami Bhaumik (Roblox) - Building a Safe &
21
     Resilient Metaverse, https://www.youtube.com/watch?v=LT5_bBOYS9A.
     33
22      Id.
     34
        Matt Kaufman, Chief Safety Officer, Driving Civility and Safety for All Users, Roblox (July 22,
23   2024), https://corp.roblox.com/newsroom/2024/07/driving-civility-and-safety-for-allusers.
     35
        Id.
24   36
        Matt Kaufman, Chief Safety Officer, Major Updates to Our Safety Systems and Parental
     Controls, Roblox (Nov. 18, 2024), https://corp.roblox.com/newsroom/2024/11/major-updates-to-
25
     our-safety-systems-and-parental-controls.
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     37
        Matt Kaufman, Chief Safety Officer, Scaling Safety and Civility on Roblox, Roblox (Apr. 4,
     2024), https://corp.roblox.com/newsroom/2024/04/scaling-safety-civility-roblox.
27   38
        Scott Tong & James Perkins Mastromarino, Roblox Chief Safety Officer on New Safety
     Features, Past Cases of Child Abuse on the Platform, WBUR (Nov. 18, 2024),
28   https://www.wbur.org/hereandnow/2024/11/18/roblox-safety-features.
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 1          C.       In Reality, Roblox Is a Digital and Real-Life Nightmare for Children.

 2          52.      Roblox’s public statements and promises are carefully crafted to paint the picture of

 3 a digital playground that is safe and appropriate for children. When parents, the press, or child

 4 advocates raise questions and concerns, the company’s highest executives respond with comforting

 5 promises of safety.

 6          53.      This campaign of reassurance masks the truth about Roblox. Far from creating a

 7 safe place for children, Roblox designed, built, and maintains a toxic environment that has enabled

 8 obscene material to flourish and, worse, enables predatory pedophiles to hunt, groom, and sexually

 9 exploit children. What Roblox represents as a safe, appropriate space for children is, in fact, a

10 digital and real-life nightmare for kids.

11                1. Roblox hosts and promotes graphic, sexually explicit content.

12          54.      Roblox is a vast ecosystem offering an endless array of not just online games but

13 also immersive virtual worlds where children’s customized avatars can engage in activities like

14 playing house, adopting pets, and mimicking adult behaviors, including sexually explicit ones.

15          55.      These games and virtual worlds are brought to life through developer tools that

16 Roblox designs, controls, and makes available to third parties. These tools, which include scripting

17 capabilities, 3D modeling systems, and other software supply the infrastructure needed to create

18 content for the Roblox platform. Roblox has the power to control the use of these tools. Instead,

19 over the years, the company has given third parties essentially unfettered access to use the tools to

20 build what they want, with no meaningful oversight or safeguards. The results are deplorable.

21          56.      As early as 2010, Roblox’s virtual games had already devolved into hosting and

22 promoting sexually explicit content. Roblox’s scripting language, which allows developers to

23 manipulate avatar activity and interactions any way they want, was deployed to create scenarios

24 where avatars engaged in simulated sexual activity.39

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27    See, e.g., YouTube, How to Do Roblox Sex Glitch,
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   https://www.youtube.com/watch?v=Zz97Q1SQE_k; see also YouTube, Roblox Sex?,
28 https://www.youtube.com/watch?v=hyqCHG6nUYI.

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 1          57.     This simulated sexual activity pervades Roblox. There have been numerous reports

 2 of children’s avatars being raped by other users’ avatars. For example, in 2018, a seven-year-old

 3 girl’s avatar was violently raped by two male avatars on a playground in a Roblox experience,

 4 which was witnessed by the girl’s mother.40 In describing the aftermath of this traumatic

 5 experience, the girl’s mother exclaimed, “I never in my wildest dreams would’ve ever imagined

 6 that I would have to talk with my seven-year-old about rape.”41

 7          58.     Roblox also hosts a staggering number of experiences centered on simulated sexual

 8 activity. For instance, children can play in “condo games”—predatory digital environments,

 9 including houses, where users can remove their avatars’ virtual clothing, revealing nudity, and

10 engage in disturbing simulated sexual activities with other Roblox users.42 They can also play

11 games like “Public Bathroom Simulator Vibe,” which allows access to users as young as nine

12 years old and enables users to simulate sexual activity in virtual bathrooms,43 as well as virtual

13 strip clubs, where child avatars perform sexually explicit acts, like giving lap dances to patrons.44

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        Savannah Levins, North Carolina Mom Outraged After Roblox Game Depicts Violent Acts,
     Including Rape, WFMYNews2 (June 30, 2018),
24   https://www.wfmynews2.com/article/news/local/2-wants-to-know/north-carolina-mom-outraged-
     after-roblox-game-depicts-violent-acts-including-rape/83-569498171.
25   41
        Id.
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     42
        EJ Dickson, Inside the Underground Strip-Club Scene on Kid-Friendly Gaming Site Roblox,
     Rolling Stone (Sep. 12, 2021), https://www.rollingstone.com/culture/culture-features/roblox-
27   virtual-strip-clubs-condo-games-sex-1197237/.
     43
        Hindenburg, supra note 1.
28   44
        Dickson, supra note 42.
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                     Roblox’s Public Bathroom Simulator Game is rated ages nine and up and
11                   allows users to simulate sexual activity.45
12            59.    A recent investigative report also exposed a multitude of other exploitative

13 experiences on Roblox that recklessly trivialize and gamify serious criminal conduct, including

14 rape. The report confirmed that Roblox actively hosted over 600 “Diddy” games, with titles like

15 “Survive Diddy,” “Run from Diddy Simulator,” and “Diddy Party,” which appear to recreate

16 reported incidents involving the music mogul Sean Combs, publicly known as “Diddy.” Diddy

17 was recently indicted and is on trial for sex trafficking of minors and other grievous criminal

18 charges regarding allegations surrounding reports about “freak-off” parties—events which,

19 according to multiple lawsuits and media reports, allegedly involved forced drug use, violent

20 assaults, and the sex trafficking of minors, including victims as young as 10 years old.

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          Hindenburg Research, supra note 1.
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                      Examples of Roblox games modeled after Diddy’s sex trafficking ventures.46
13              60.      This report also revealed that Roblox permitted more than 900 Roblox accounts
14 displaying variations of convicted sex trafficker Jeffrey Epstein’s name, such as

15 “JeffEpsteinSupporter,” whose account Roblox actively permitted to be openly engaged in

16 children’s games. Roblox also allowed games like “Escape to Epstein Island”—a title that directly

17 references one of the locations where for years Epstein trafficked minors and other non-consenting

18 individuals so he and others could sexually and physically abuse them.

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                Example of Roblox game modeled after Jeffrey Epstein’s sex trafficking ventures.47
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          Id.
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 1          61.     Roblox played a direct role in enabling these rampant, sexually exploitative

 2 experiences. Roblox is fully aware that these experiences pervade its app, and it allows them to

 3 continue to exist unchecked despite the ability to control or eliminate them. Leaked internal

 4 Roblox documents reveal that Roblox monitored this type of content and made decisions such as

 5 “[h]ow big of a ‘bulge’” was acceptable, and, with the introduction of layered clothing for avatars

 6 (i.e., allowing avatars to wear multiple layers of clothing), whether players could be nude.48 By

 7 allowing this type of content to exist and be easily accessible, Roblox directly contributed to the

 8 proliferation of games simulating sexual activity, such as condo games and virtual strip clubs.

 9          62.     The effects of these games on children can be devastating. Playing video games

10 with explicit sexual content normalizes exploitative and predatory behavior, blurring the lines of

11 what is acceptable in real life. This is particularly harmful for children, who are still developing

12 their understanding of social norms and morality. When such behavior is depicted as humorous,

13 exciting, or rewarded within a game, young players can internalize the idea that harassment or

14 sexual exploitation is harmless or even acceptable.

15          63.     Studies support this connection. One study found that playing games with

16 sexualized content was linked to increased rates of sexual harassment toward female targets,

17 suggesting that such exposure desensitizes players to the real-world consequences of these

18 actions.49 Another study showed that playing mature-rated games was associated with higher rates

19 of risky sexual behavior years later, highlighting the long-term impact of exposure to sexualized or

20 exploitative content.50

21          64.     The interactive nature of games amplifies this effect. Unlike passive media, video

22 games require players to actively participate in behaviors, including those that simulate

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      Joseph Cox & Emanuel Malberg, Leaked Documents Reveal How Roblox Handles Grooming
     48
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   and Mass Shooting Simulators, Vice (Aug. 1, 2022), https://www.vice.com/en/article/leaked-
26 documents-how-roblox-moderates-content-mass-shootings-grooming/.
   49
      Jonathan Burnay, Brad J. Bushman & Frank Larøi, Effects of Sexualized Video Games on
27 Online Sexual Harassment, 45 Aggressive Behavior 2, 214 (March/April 2019).
   50
      Jay G. Hull et al., A Longitudinal Study of Risk-Glorifying Video Games and Behavior
28 Deviance, J. Pers. Soc. Psychol. 2014 August; 107(2): 300–325. doi:10.1037/a0036058.

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 1 harassment or exploitation, reinforcing the perception that such actions are normal or desirable.

 2 This environment not only desensitizes children but also makes them more likely to replicate these

 3 actions in real-world interactions.

 4          65.    The dangerous content on Roblox is not limited to online games. The recent

 5 investigative report discussed above found that a basic search for “adult” in Roblox revealed a

 6 group with 3,334 members “openly trading child pornography and soliciting sexual acts from

 7 minors.”51 And tracking these members unearthed additional Roblox groups engaged in the same

 8 criminal conduct, including one massive group with 103,000 members.52 Yet Roblox failed to

 9 implement any age restrictions on these criminal groups, deliberately leaving them accessible to

10 all users.53

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             Public chat wall for a group named “Adult Studios,” where users openly solicited
24                                         child pornography.54

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      Hindenburg Research, supra note 1.
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27   52
      Id.
   53
      Id.
28 54 Id.

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 1          66.     Roblox has also enabled individuals to create an entire category of pornographic

 2 content. Using Roblox’s tools and software, users make virtual sex videos between avatars on

 3 Roblox. These videos are clearly marked with the .rbxl file extension—Roblox’s proprietary file

 4 format—establishing that this content was created within the Roblox application. Moreover, on

 5 XVideos, a porn website, Roblox users seek out other users to simulate sexual acts within

 6 seemingly innocuous games, like Brookhaven, which is one of Roblox’s most popular experiences

 7 and is available to all users, regardless of age.

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                This Roblox user advertised their Roblox account on porn website, XVideos, where
17              they had uploaded videos of their avatar having sex with other Roblox users.55
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25              Searching “Roblox” on XVideos, a porn website, yields more than 250,000 results.56

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          Id.
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          Id.
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                The comment section on a Roblox porn video on XVideos – Brookhaven is one of
11              Roblox’s most popular games and is available to users of all ages.57
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                67.      In sum, the online environment that Roblox hosts and enables contradicts its
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     representations of providing a safe product, demonstrating Roblox’s blatant disregard for the
14
     safety of its youngest users and revealing the company’s prioritization of user engagement over its
15
     fundamental duty to protect young users.
16
                      2. Roblox provides a hunting ground for child-sex predators.
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                68.      For years, Roblox has served as the online platform of choice for predators seeking
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     to find, groom, abuse, and exploit children. Roblox provides predators with easy access to tens of
19
     millions of children and allows these predators to freely move between inappropriate content and
20
     popular games to identify and target vulnerable young users. By doing so, Roblox has demonstrated
21
     reckless indifference to its fundamental obligation not to create and foster an environment that
22
     places children at significant risk of sexual exploitation.
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                69.      These systematic patterns of exploitation on Roblox follow a predictable and
24
     preventable sequence that the company has known about and facilitated for years: a predator
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     misrepresents their age to other users on the app, cosplaying as a fellow child, methodically
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28   57
          Id.
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 1 befriends the vulnerable young victim, and then strategically manipulates the child to move the

 2 conversation off Roblox to other popular apps, such as Discord or Snapchat.

 3          70.     As the recent Bloomberg Businessweek article titled Roblox’s Pedophile Problem

 4 put it, “These predators weren’t just lurking outside the world’s largest virtual playground. They

 5 were hanging from the jungle gym, using Roblox to lure kids into sending photographs or

 6 developing relationships with them that moved to other online platforms and, eventually, offline.”58

 7          71.     Roblox, in effect, serves as an initial access point to children for predators. Media

 8 reports have repeatedly highlighted that Roblox “is being used as a first point of contact for

 9 predators.”59 The children, due to their underdeveloped brains, are more trusting and naïve, and

10 often fail to recognize the danger of providing their usernames on other sites.

11          72.     Once on another app, like Discord or Snapchat, predators escalate their exploitation

12 by soliciting explicit material, like nude photos or videos of children doing sexually inappropriate

13 acts, all of which constitute child pornography. And while the ultimate solicitation of explicit

14 photos or other criminal acts may occur on other apps, Roblox serves as the critical facilitator that

15 enables these predators to first identify, target, and gain the trust of young victims through its app’s

16 design and inadequate safety measures.

17          73.     Roblox’s app and profit-driven virtual currency system enable predators to exploit

18 children, often by trading or extorting Robux in exchange for explicit photos. Predators commonly

19 offer children Robux for these photos or demand Robux to avoid publicly releasing them, directly

20 tying Roblox’s profits to the sexual exploitation of children. Roblox’s manipulative reward systems

21 and social dynamics, intentionally designed to exploit children’s developmental vulnerabilities,

22 create psychological pressures that predators weaponize for extortion.

23          74.     Despite full awareness of how its app facilitates such exploitation, Roblox continues

24 to profit from these tactics by collecting transaction fees on Robux exchanges. Its reckless

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27    Carville & D’Anastosio, supra note 8.
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      National Center on Sexual Exploitation, The Dirty Dozen List ’24: Roblox,
     59
28 https://endsexualexploitation.org/roblox/ (last updated Dec. 4, 2024).

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 1 indifference to the consequences of its deliberately engineered app mechanics highlights its

 2 prioritization of profits over the safety and well-being of its young users.

 3          75.     Roblox enables another pattern of predatory grooming in which predators employ

 4 immediate blackmail tactics and make no attempt to ingratiate themselves with the children, but

 5 instead threaten them from the outset. The predator will often threaten to post nude photos of others

 6 online, but claim that the child victim is the person depicted unless the child complies with the

 7 predator’s demands. Through its deliberately insufficient monitoring systems, Roblox allows

 8 predators to threaten children with false claims about possessing and potentially releasing explicit

 9 photos, coercing young victims into complying with criminal demands.

10          76.     Regardless of how the initial grooming relationship begins, which is often as simple

11 as someone asking the child to be their boyfriend or girlfriend, the predators also often attempt to

12 make in-person contact with the child. The dangerous progression from Roblox’s online app to

13 real-world violence reveals the devastating consequences of the company’s product. Roblox’s app

14 enables predators to escalate from virtual contact to orchestrating physical meetings, leading to

15 harassment, kidnapping, trafficking, violence, and sexual assault of minors, all instances of which

16 these children suffered as a direct result of Roblox’s actions.

17          77.     Through numerous well-documented and publicized cases, Roblox has long been

18 aware of the systemic exploitation that its app enables and facilitates. For years, countless children

19 have been sexually exploited and abused by predators they met on Roblox.

20          78.     For example, in 2017, Roblox’s app enabled a predator to target an eight-year-old

21 child and solicit explicit photos, prompting one mother to observe that Roblox had created “the

22 perfect place for pedophiles.”60

23          79.     In 2018, Roblox’s app enabled a predator posing as a child to coerce a nine-year-old

24 girl into performing and filming sexually abusive acts on her four-year-old brother through violent

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      Pei-Sze Cheng, Evan Stulberger & Dave Manney, I-Team: Popular Online Gaming Site for
     60

27 Kids is Breeding Ground for Child Sex Predators, Mother Says, NBC New York (Apr. 6, 2017),
   https://www.nbcnewyork.com/news/local/video-game-warning-roblox-child-sex-predator-online-
28 site-investigation-what-to-know/87438/.

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 1 threats, including of death, against her family.61 That year, 24 men in New Jersey were also charged

 2 with soliciting sex from minors as part of a sting operation, where the New Jersey State Police

 3 Lieutenant specifically called out Roblox as a place where “individuals are posing as someone else”

 4 in order “to gain someone’s trust.”62

 5          80.     In 2019, a Florida predator systematically used Roblox to target children ages 10-

 6 12, moving them to Discord to coerce the children into sending him naked pictures of themselves.63

 7 That year, a man in Wales encouraged 150 children to engage in sexual activity by contacting them

 8 through Roblox, where he pretended to be a child and used fake names.64

 9          81.     During the pandemic, reports of child sex abuse facilitated by Roblox accelerated.

10 In 2020, for example, Roblox enabled a 47-year-old predator to pose as a teenager, target a 16-year-

11 old girl, move the conversation to Facebook, solicit explicit photos and videos, all of which

12 constituted child pornography,65 and ultimately traffic her across state lines, raping her multiple

13 times.66 In Michigan, a man was arrested for persuading an eight-year-old girl to send him videos

14 of herself, in various stages of undress, in exchange for Robux.67 The perpetrator had been arrested

15 for similar offenses three years earlier and was a registered sex offender in Kansas. This perpetrator

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        Briana Barker, Internet Safety and Your Children: How Kids are at Risk, Record-Courier (Mar.
     27, 2018), https://www.record-courier.com/story/news/2018/03/27/internet-safety-your-children-
19   how/12899346007/.
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        Cop, Firefighter Among 25 Charged in Child Luring Sting, FOX 13 TAMPA BAY (Sep. 25, 2018),
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 1 was not the only convicted sex offender who was able to freely create accounts on Roblox: in 2021,

 2 a convicted sex offender used Roblox to sexually solicit a 12-year-old child.68 And in 2022, a 33-

 3 year-old man groomed a 13-year-old girl on Roblox, transported her from her home in Kansas to

 4 his home in Georgia, and raped her multiple times.69

 5          82.    2023 was more of the same. For example, a 30-year-old man was arrested for

 6 soliciting illicit photos from young victims and authorities reported that he had three separate

 7 Roblox accounts.70 A 27-year-old man was arrested for kidnapping an 11-year-old girl whom he

 8 met on Roblox.71 A 23-year-old New Jersey man, who was a prominent Roblox developer with a

 9 known history of exploiting children via Roblox, was sentenced to 15 years in prison for grooming

10 a 15-year-old girl, transporting her to his house, and sexually abusing her.72

11          83.    Similar incidents continued throughout 2024. For example, a 21-year-old Chilean

12 man was arrested for traveling to the U.S. to meet an underage girl he met on Roblox, where he

13 had “spent several months manipulating and grooming” her.73 A 21-year-old in California pled

14 guilty for directing a 10-year-old girl, whom he met on Roblox, to disrobe and touch herself.74 A

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   68
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 1 64-year-old man admitted to posing as a 13-year-old boy on Roblox, where he met a 12-year-old

 2 girl and convinced her to send sexually explicit photos of herself and a young relative.75 A 29-year-

 3 old Michigan man befriended and groomed an 11-year-old girl on Roblox by posing as a teenager

 4 and then coerced the girl into sending multiple explicit photos of herself.76 And a 24-year-old man

 5 raped a 10-year-old girl he had met on Roblox.77

 6          84.    Despite supposed “parental controls” that Roblox implemented in 2024 and 2025,

 7 predators continue to enjoy easy access to children on the app, causing devastating harm. For

 8 example, in April 2025, a California man was arrested and charged with kidnapping and engaging

 9 in unlawful sexual conduct with 10-year-old girl whom he met and communicated with on

10 Roblox.78 The next month, a 17-year-old Florida teenager was arrested after authorities learned he

11 had been communicating on Roblox with numerous children, some as young as eight-years-old,

12 over the course of a year, and convinced them to send him sexually explicit images of themselves.79

13 And just a few days later, a New York man who used Roblox to connect with 11- and 13-year-old

14 girls was arrested and federally charged with enticement and possession of child pornography.80

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        Travis Schlepp, Man, 64, Admits to ‘Catfishing’ Girl on Roblox, Convincing Her to Send
     Explicit Images, KTLA 5 (Jul. 26, 2024), https://ktla.com/news/california/man-64-admits-to-
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     ‘Targeted Child He Met on Gaming Platform Is Jailed for Six Years, Daily Mail (Jan. 17, 2025),
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26   Roblox, NBC (May 2, 2025), https://www.nbcmiami.com/news/local/ocala-17-year-old-
     convinced-kids-to-send-him-sex-abuse-material-on-roblox-sheriff/3605691/.
27   80
        U.S. Dep’t of Justice, Fairport Man Who Used Roblox to Attempt to Communicate with Minors
     for Sex Arrested (May 6, 2025), https://www.justice.gov/usao-wdny/pr/fairport-man-who-used-
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 1          85.    While most predators on Roblox lure children into their grasp by pretending to also

 2 be children, many predators do not even hide their intentions, roaming Roblox with usernames like

 3 like “@Igruum_minors,” “@RavpeTinyK1dsJE,” and “@EarlBrianBradley”—a reference to one

 4 of the most prolific pedophiles ever, who raped and molested hundreds of children.

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14                       Results from an account search for “earlbrianbradley.”81

15          86.    Roblox’s systematic endangerment of children has been publicly condemned by
16 leading advocacy organizations. The National Center on Sexual Exploitation (“NCSE”) has

17 consistently named Roblox to its “Dirty Dozen” list—an annual campaign exposing companies that

18 facilitate, enable, or profit from sexual exploitation. The NCSE blasts Roblox for “treat[ing] child

19 protection like a game.”82 According to the NCSE, “[u]ntil basic child protection standards are met,

20 Roblox remains too high risk for kids.”83

21          87.    Parent reviews of Roblox on sites like Common Sense Media also document
22 disturbing incidents of naked avatars, sexting, simulated sexual assault, and adult predators.84

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      Hindenburg Research, supra note 1.
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26    National Center on Sexual Exploitation, supra note 59.
     82
   83
      Id.
27 84 Common Sense Media, Parent Reviews of Roblox,
   https://www.commonsensemedia.org/website-reviews/roblox/user-reviews/adult (last visited Feb.
28 11, 2025).

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 1          88.    The harm from this child abuse and exploitation extends beyond the initial victims.

 2 Through the design of its app and inadequate safeguards, Roblox has created an abusive ecosystem

 3 where former victims—children who were once exploited on Roblox—become teenage

 4 perpetrators who then prey upon younger users, making today’s victims tomorrow’s perpetrators.

 5 Indeed, researchers have repeatedly confirmed this victim-victimizer pipeline: when children are

 6 exposed to and victimized by sexual content, they are more likely to become desensitized teenagers

 7 and adults who then exploit younger users in the same ways.85 In effect, Roblox contributes to this

 8 “raising of” predators who perpetuate the cycle of exploitation.

 9          89.    The magnitude of the harm caused by Roblox is devastating. Yet rather than warn

10 parents, schools and the public, Roblox minimizes these dangers through repeated misleading

11 public statements. Roblox’s Chief Safety Officer, Matt Kaufman, attempting to deflect attention

12 from serious safety failures, told NPR, “I think we’re losing sight of the tens of millions of people

13 where Roblox is an incredibly enriching part of their life.”86 And while Kaufman publicly claims

14 that “any time anything happens to a child that puts them at risk is one too many,”87 Roblox

15 simultaneously admitted to investors that it was “unable to prevent all such [inappropriate]

16 interactions from taking place.”88 This calculated contradiction between public messaging and

17 private admissions—telling parents that even one incident is unacceptable while simultaneously

18 acknowledging to investors that abuse is inevitable—exposes Roblox’s strategy of prioritizing

19 public relations through hollow and misleading public statements over its fundamental duty to

20 protect children.

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23   85
        James RP Ogloff, Margaret C. Cutajar, Emily Mann & Paul Mullen, Child Sexual Abuse and
     Subsequent Offending and Victimisation: A 45 Year Follow-Up Study, Trends & Issues in Crime
24   & Criminal Justice No. 440 (Jun. 2012), https://www.aic.gov.au/sites/default/files/2020-
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     Becoming a Perpetrator, British J. Psychiatry (2001).
26
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        Scott Tong & James Perkins Mastromarino, Roblox Chief Safety Officer on New Safety
     Features, Past Cases of Child Abuse on the Platform, WBUR (Nov. 18, 2024),
27   https://www.wbur.org/hereandnow/2024/11/18/roblox-safety-features.
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        Id.
28   88
        Roblox Corp., S-1 (Securities Registration Statement) 24 (Nov. 19, 2020).
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 1          D.     Roblox Knowingly Causes and Facilitates the Sexual Exploitation of Children.

 2          90.    The reason that Roblox is overrun with harmful content and predators is simple:

 3 Roblox prioritizes user growth, revenue, and eventual profits over child safety. For years, Roblox

 4 has knowingly prioritized these numbers over the safety of children through the actions it has taken

 5 and decisions it has made to increase and monetize users regardless of the consequences.

 6                 1. Roblox prioritizes growth over child safety.

 7          91.    From its inception, Roblox has focused on growth above all else, which has meant

 8 deliberately targeting, exploiting, and capitalizing on the underdeveloped child market, positioning

 9 itself as a place where kids can learn and play games in a safe environment. Recognizing that

10 children have more free time, underdeveloped cognitive functioning, and diminished impulse

11 control, Roblox has exploited their vulnerability to lure them to its app.

12          92.    Roblox’s business model allowed the company to attract significant venture capital

13 funding from big-name investors like Kleiner Perkins and Andreessen Horowitz, putting enormous

14 pressure on the company to prioritize growing and monetizing its users. To do so, Roblox made

15 deliberate decisions that placed children at risk. For example, while other digital platforms

16 (including other video game platforms) verified users’ ages and restricted communications between

17 children and adults, Roblox did not require age verification and did not restrict communications

18 between children and adults. Similarly, while other digital platforms required children’s accounts

19 to be connected to the account of a parent or guardian during set-up, with various parental controls

20 turned on by default, it is easy for children (including very young children) to download and install

21 Roblox without involving an adult. While other platforms implemented reliable, accurate age

22 ratings for games and videos that correctly informed parents about the type of content their children

23 would see, Roblox’s deeply flawed “content label” system gave parents a false sense of security,

24 incorrectly labeling graphic sexual and violent games as safe for kids. And while other platforms

25 restricted access if a child fell below a certain age, Roblox welcomed and encouraged children of

26 any age, despite its knowledge of significant harms that children routinely experience there.

27          93.    In 2021, riding the explosive growth in users generated by the pandemic and the
28 pandemic-driven enthusiasm for technology stocks, Roblox went public at a valuation of $41

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 1 billion, which brought new pressures. To satisfy the scrutiny and demands of public market

 2 investors, Roblox, like many unprofitable companies, prioritized rapid growth in revenue and user

 3 engagement metrics—like new user acquisition, daily active users, and average hours spent on the

 4 app—on the theory that profitability would follow once the business achieved sufficient scale and

 5 operating costs decreased as a percentage of revenue.89

 6          94.     In pursuit of growth, Roblox deprioritized safety measures even further so that it

 7 could report strong numbers to Wall Street. For instance, Roblox executives rejected employee

 8 proposals for parental approval requirements that would protect children on the platform.90

 9 Employees also reported feeling explicit pressure to avoid any changes that could reduce platform

10 engagement, even when those changes would protect children from predators.91

11          95.     As one former Roblox employee explained, “You’re supposed to make sure that

12 your users are safe but then the downside is that, if you’re limiting users’ engagement, it’s hurting

13 our metrics. It’s hurting the active users, the time spent on the platform, and in a lot of cases, the

14 leadership doesn’t want that.”92 That same employee added, “You have to make a decision, right?

15 You can keep your players safe, but then it would be less of them on the platform. Or you just let

16 them do what they want to do. And then the numbers all look good and investors will be happy.”93

17          96.     By limiting safety measures, Roblox not only increased its users but also reduced

18 the company’s safety expenses as a percentage of its revenue—a key metric for Wall Steet, which

19 views trust and safety costs as detrimental to Roblox’s stock performance. Barclays, for example,

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        After listing on the New York Stock Exchange, Roblox CEO David Baszucki told CNBC,
     “Roblox has been growing for 15 years . . . . That’s a long-term growth path, and we believe that
23   continues forward, even after Covid.” Ari Levy & Jessica Bursztynsky, Roblox Jumps to $38
     Billion Mark Cap as Public Investors Get Their First Crack at the Popular Kids Game App,
24   CNBC (Mar. 10, 2021), https://www.cnbc.com/2021/03/10/roblox-rblx-starts-trading-at-
     64point50-after-direct-listing.html. CFO Michael Guthrie added, “As [Covid] restrictions ease, we
25
     expect the rates of growth in 2021 will be well below the rates in 2020, however, we believe we
26   will see absolute growth in most of our core metrics for the full year.” Id.
     90
        Hindenburg Research, supra note 1.
27   91
        Id.
     92
        Id.
28   93
        Id.
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 1 identified its “downside case” for Roblox’s stock as “additional safety investments due to its

 2 younger demographic . . . becom[ing] a drag on [earnings] margins.”94 Barclays also wrote that it

 3 viewed increased safety costs as a “negative” in Roblox’s quarterly earnings.95

 4          97.     During earnings calls for investors, Roblox frequently addresses questions from

 5 analysts about how trust and safety expenditures will evolve over time. Roblox’s answers reveal

 6 that the company is hyper-focused on reducing its trust and safety expenses as a percentage of its

 7 revenue, showing that the company is not investing as much proportionally in trust and safety as

 8 the company continues to grow and attract millions of additional users.

 9          98.     For example, on Roblox’s 2023 fourth quarter earnings call, an analyst praised the

10 “really high level of efficiency” seen in the numbers for infrastructure and trust and safety

11 expenditures and then asked how those figures would evolve over time.96 In response, Mike

12 Guthrie, Roblox’s CFO, emphasized the company’s goal of reducing expenses, stating, “cost to

13 serve is the metric that we use and it’s the metric that the [infrastructure] team owns . . . they’re

14 working hard to drive that down . . . . [L]ike you said, it’s about 11% now, ultimately with higher

15 efficiency . . . we see that as a high-single-digit number over the next few years.”97 He added, “[W]e

16 still think there’s more to do there.”98

17          99.     At other times, Guthrie has reassured investors stating, “look for trust and safety

18 [costs] to scale below linear as we grow”99 and that Roblox was “quite happy with” trust and safety

19 costs growing “at a lower rate than our bookings growth.”100

20          100.    Similarly, in the second quarter of 2024, CEO Baszucki highlighted that,

21 “[i]mportantly, our infrastructure and trust and safety expenditures were 8% lower year-on-year.”101

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23   94
        Ross Sandler, Trevor Young & Alex Hughes, Back on Track Following the 1H Hiccup,
     Barclays (Aug. 1, 2024)
24   95
        Ross Sandler, Trevor Young & Alex Hughes, Everything Accelerating, Safety & Security a Top
     Priority, Barclays (Nov. 1, 2024)
25   96
        Q4 2023 Earnings Call (Feb. 7, 2024).
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     97
        Id. (emphasis added).
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        Id.
27   99
        Q4 2022 Earnings Call (Feb. 15, 2023)
     100
         Q3 2022 Earnings Cal (Nov. 8, 2023).
28   101
         Q2 2024 Earnings Call (Aug. 1, 2024).
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 1          101.   Once public, Roblox also decided to try to attract more adult users to its app—which

 2 it had historically touted as the “#1 gaming site for kids and teens.”102 With the market for underage

 3 users near saturation, Roblox shifted its growth strategy to attracting older users.

 4          102.   In its public offering filings, Roblox identified “age demographic expansion” as a

 5 key strategy, explaining that it planned to develop experiences and content that appealed to older

 6 users.103 For Roblox, “aging up” had benefits beyond user growth—it was also more profitable.

 7 Older users offered a distinct financial advantage. While children spend more hours on Roblox,

 8 they do not “monetize” as well because they are more constrained in their ability to spend. In

 9 contrast, older users, who “have more direct control over their spend” and “monetize better,” are

10 far more lucrative—an outcome that Roblox said it predicted when it started to target older users.104

11          103.   Roblox’s executives repeatedly emphasized their strategy of “aging up” the app to

12 attract older users. At the company’s inaugural conference with an investment bank in September

13 2021, Roblox’s CFO, Michael Guthrie, noted that Roblox had achieved “very good penetration of

14 nine to twelve year-olds,” and was focused on adding users over the age of 13.105 One plan was to

15 “improve the search algorithms such that older users were finding older content,” or content

16 tailored to their age-related demographic.106

17          104.   And at its annual Developer Conference, CEO David Baszucki encouraged

18 developers to create experiences for older audiences, explaining that Roblox was rolling out

19 features designed to appeal to older users, including use of real names, screen capture and sharing

20 capabilities, video calls, and relaxed chat moderation.107 These decisions, while framed as growth

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23   102
         Roblox, What Is Roblox,
     http://web.archive.org/web/20170227121323/https://www.roblox.com/ (archived Feb. 27, 2017).
24   103
         Roblox Corp., S-1 (Securities Registration Statement) 7 (Nov. 19, 2020).
     104
         Q2 2022 Earnings Call (Aug. 10, 2022).
25   105
         Roblox at Goldman Sachs Communicopia Conference (Sep. 9, 2021),
26   https://ir.roblox.com/events-and-presentations/events/event-details/2021/Goldman-Sachs-
     Communicopia/default.aspx.
27   106
         Id.
     107
         Roblox Developers Conference 2023 Keynote (Sep. 8, 2023),
28   https://www.youtube.com/watch?v=CwLThCghzA4.
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 1 strategies, reflected Roblox’s willingness to compromise safety, creating new vulnerabilities and

 2 more dangerous circumstances for children in its pursuit of a more profitable, older user base.

 3          105.   Roblox executives consistently highlighted progress with the company’s “aging up”

 4 strategy on every quarterly earnings call after this until the second quarter of 2023, when CEO

 5 Baszucki declared that Roblox had achieved its goal: “We’re no longer talking about aging up. We

 6 are a platform for all ages.”108 He also revealed that developers had started to “build specific 17-

 7 plus experiences.”109 This progress was praised by Wall Street investment banks, who noted that

 8 aged-up experiences were a promising indicator of “potential sustainable growth tailwinds for

 9 Roblox,” reinforcing the company’s pivot toward maximizing profitability.110

10          106.   Despite Roblox’s deliberate targeting of older users, it failed to implement any

11 meaningful restrictions on contact between adult and child users or limit the mature content and

12 experiences it solicited from developers to attract older audiences. When asked by an equity

13 research analyst about aged-13-and-up experiences for older users, CEO Baszucki admitted, “I

14 want to highlight right now that we don’t have any only 13 and up experiences. We have 28% of

15 the top thousand experiences having a majority of 13-plus [users] but those are still experiences

16 that are open to all ages.”111 Similarly, despite urging developers to build more mature experiences,

17 Roblox continued to allow users to set up accounts without any type of age verification.112 Even

18 investors recognized the connection between older users and the increased risks for children,

19 questioning how Roblox planned to prevent inappropriate content from reaching younger users.113

20          107.   Not only did Roblox seek to increase adult users while knowing the risks that

21 strategy posed to children, but it also sought to encourage relationships between users. At Roblox’s

22 2023 Developers Conference, CEO Baszucki revealed Roblox’s strategy to facilitate “real-life

23 relationships” between users—i.e., dating. While he deliberately avoided the word “dating,” he

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25
       Q2 2023 Earnings Call (Aug. 9, 2023).
     108

26     Q2 2023 Earnings Call (Aug. 9, 2023).
     109
   110
       Benjamin Black et al., Bookings Back on Track, Deutsche Bank (Nov. 4, 2024).
27 111 Q3 2021 Earnings Call (Nov. 9, 2021) (emphasis added).
   112
       Q4 2022 Earnings Call (Feb. 15, 2023).
28 113 Q3 2021 Earnings Call, supra note 111.

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 1 then announced plans to build a product to support it: “I’m not going to use the D word but

 2 subsequent[] real-life relationships is going to happen, okay? And we’re going to build a platform

 3 to support that.”114

 4          108.   By the next year, in 2024, Baszucki explicitly acknowledged this strategy. He first

 5 acknowledged that online dating is “edgy” but then mocked his own safety team’s concerns about

 6 the dangers—“the policy and safety team told me [dating and real-life relationships] isn’t within

 7 our current policy right now”—to which the audience shared in laughter.115

 8          109.   In short, for years, Roblox has deliberately sacrificed child protection—a

 9 longstanding issue for the company—in pursuit of growth and profit. This systematic subordination

10 of child safety to business objectives reflects Roblox’s continued choice to maximize its business

11 goals while knowingly exposing children to preventable dangers on its app.

12                 2. Roblox facilitates child sexual exploitation through the design of its app,

13                        inadequate safety features, and refusal to invest in basic safety protections.

14          110.   Roblox’s pursuit of growth and profit over child safety is reflected in numerous

15 actions it took and decisions it made related to the design and safety of its app. Had Roblox acted

16 differently, the harm suffered by countless children would not have occurred.

17          111.   Roblox designed its app so that anyone can easily communicate with children,

18 creating a virtual world where predators can freely target and groom children. Until November

19 2024, adult strangers could “friend” and chat with children of any age via direct messages and chat

20 with them in an experience through direct messages even if they were not friends. While Roblox

21 offered some adjustable parental controls for users under the age of 13, these children could bypass

22 those controls simply by creating an alternate account falsely identifying as a 13+-year-old user.

23 By designing its app this way, Roblox stripped parents of basic protective options to prevent adult

24 strangers from communicating with their children.

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26
       Roblox Developers Conference 2023 Keynote (Sep. 8, 2023),
     114

27 https://www.youtube.com/watch?v=CwLThCghzA4.
   115
       Roblox Developers Conference 2024 Keynote (Sep. 6, 2024);
28 https://www.youtube.com/watch?v=HwbcWc2CwnM.

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 1          112.   This practice contrasts sharply with other gaming products like Nintendo, which use

 2 preprogrammed dialogue options to tightly control user interactions.116 By adopting a similar

 3 approach, Roblox could have significantly reduced—if not eliminated—the grooming and child

 4 abuse facilitated by its app because predators would not have been able to solicit any personal

 5 information or send any coercive or sexually suggestive messages.

 6          113.   Roblox further endangered children by introducing voice calls in November 2023.

 7 Called “Roblox Connect,” this virtual call feature allows users to have a conversation through their

 8 avatars in real time. Concerns were immediately raised about this feature. For example, one user

 9 emphasized, “This is a bad idea Roblox, and especially on your platform because this is where

10 most predators are coming from, and it makes it way easier for predators to prey on children.” 117

11          114.   As Roblox contemplated and rolled out Roblox Connect, it knew that this feature

12 would drastically increase the risk to children on its app. That is because another company had

13 implemented a similar feature with disastrous consequences. Omegle was a chat website that

14 operated from 2009 to 2023. Omegle allowed users, including children, to engage in anonymous

15 chats with strangers. In March 2010, Omegle introduced a video-chat feature. Despite efforts to

16 monitor for mature and sexual content, the website became infamous for exposing minors to

17 explicit material, predators, and exploitation. Omegle’s failure to protect users led to numerous

18 incidents, including criminal cases involving child pornography. In November 2023, the same

19 month Roblox launched Roblox Connect, Omegle announced that it would cease operations. In

20 shutting down, its founder highlighted the site’s misuse: “[T]here can be no honest accounting of

21 Omegle without acknowledging that some people misused it, including to commit unspeakably

22 heinous crimes.”118 And he thanked one survivor for “opening my eyes to the human cost of

23 Omegle.”119 Nevertheless, Roblox introduced voice calls the same month that Omegle shut down.

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       Carville & D’Anastosio, supra note 8.
     116

26     Josh Taylor, Roblox Under Fire After Adding Controversial Voice Call Feature, Dexerto (Nov.
     117

   15, 2023), https://www.dexerto.com/roblox/roblox-under-fire-after-adding-controversial-voice-
27 call-feature-2384564/.
   118
       Omegle, https://www.omegle.com/ (last visited Feb. 11, 2025).
28 119 Id.

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 1          115.    Roblox also refused to implement simple measures that would have protected

 2 children using its app. For example, despite having the ability to require basic identity verification,

 3 Roblox instead chose to allow users to create accounts without providing their name or email

 4 address—a policy that enables predators to easily create multiple anonymous accounts. Roblox

 5 also could have implemented basic screening measures before allowing users on the app, which

 6 would have ensured that known predators are not permitted on the app.

 7          116.    Roblox also could have required children to provide their names and email

 8 addresses and obtain parental approval—a fundamental protection against predators—but refused

 9 to do so. This decision allowed the company to bypass certain protections that are mandated by

10 federal law and designed to protect children. The Children’s Online Privacy Protection Act

11 (“COPPA”) prohibits companies like Roblox from collecting, using, or disclosing the personal

12 information of children under 13 without verifiable parental consent. COPPA was enacted because

13 Congress recognized the heightened vulnerability of children on the internet. As the Federal Trade

14 Commission (“FTC”) noted, children under 13 lack the capacity to “understand fully the potential

15 serious safety and privacy implications” of sharing their personal information.120 More recent

16 international regulations are stricter. For example, the European Union’s General Data Protection

17 Regulation (GDPR) requires verifiable parental consent for children under 16.121

18          117.    The FTC has outlined clear and acceptable methods for obtaining verifiable parental

19 consent. These include: (a) providing a form for parents to sign and return; (b) requiring the use of

20 a credit card or online payment that notifies parents of each transaction; (c) connecting parents to

21 trained personnel via video conference; (d) offering a staffed toll-free number for parental

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       Federal Trade Commission, Privacy Online: A Report to Congress (1998),
     120

25 https://www.ftc.gov/sites/default/files/documents/reports/privacy-online-report-congress/priv-
   23a.pdf.
26 121 Art. 8 GDPR; see also Consent to Use Data on Children, EU Agency for Fundamental Rights

27 (https://fra.europa.eu/en/publication/2017/mapping-minimum-age-requirements-concerning-
   rights-child-eu/consent-use-data-children). Note that member states can lower the cutoff to 13, 14
28 or 15 if they choose.

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 1 verification; (e) asking knowledge-based questions to confirm identity; or (f) verifying a parent’s

 2 photo-ID by comparing it to a second photo using facial recognition technology.122

 3          118.   Yet instead of implementing safeguards to comply with COPPA, Roblox chose to

 4 bypass these protections altogether. Roblox intentionally avoids requesting a name or email address

 5 during sign-up to sidestep the requirement of verifiable parental consent. In fact, former employees

 6 revealed that Roblox considered requiring verifiable consent, but ultimately resisted its

 7 implementation out of fear that such requirements might drive users away.123 Consequently,

 8 creating a Roblox account is alarmingly easy, requiring less than sixty seconds and no meaningful

 9 oversight—a choice that prioritizes growth over the safety of its youngest users.124

10          119.   Another easy-to-implement feature that would have improved safety is adding pop-

11 up safety notices within chats and games to warn users about their behavior or the dangerous

12 behavior of others. But Roblox executives also rejected this change.125

13          120.   Additionally, although Roblox knew that predators routinely operate dozens of

14 Roblox accounts at the same time, the company chose not to implement basic blocking of digital

15 identifiers—both the unique network addresses that track internet connections (Internet Protocol

16 or IP addresses) and the permanent hardware identification numbers assigned to devices (Media

17 Access Control or MAC addresses) that could prevent predators from creating multiple accounts.126

18          121.   Similarly, Roblox chose not to require adult users to verify phone numbers—which

19 would create significant barriers to predators creating multiple accounts—despite knowing that this

20 enables bad actors to easily create numerous anonymous accounts to target children.127

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   122
       Federal Trade Commission, Complying with COPPA: Frequently Asked Questions, July 2020,
24 https://www.ftc.gov/business-guidance/resources/complying-coppa-frequently-asked-questions.
   123
       Hindenburg Research, supra note 1.
25 124
       Scott Tong & James Perkins Mastromarino, Roblox Attempts to Bar Child Predators as Short
26 Sellers Target the Popular Game Platform, WBUR (Oct. 21, 2024),
   https://www.wbur.org/hereandnow/2024/10/21/roblox-child-predators-safety.
27 125 Carville & D’Anastosio, supra note 8.
   126
       Id.
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 1          122.    Roblox also opted not to require users to verify their age by uploading a picture of

 2 either their or their parents’ ID, a practice that many other applications employ. Doing so would

 3 have restricted the content available to young users and prevented predators from easily

 4 mispresenting their age, which is often their approach in targeting and grooming children. As one

 5 father told the press after seeing other users solicit his avatar for sex, “There is nothing to stop

 6 adults going on there and pretending they’re kids.”128

 7          123.    Roblox could easily have restricted communications between adult accounts and

 8 children’s accounts, something that many other platforms have done. It could also have restricted

 9 adult accounts from sending Robux to children’s accounts, a feature that sexual predators

10 frequently use to lure children.

11          124.    Roblox likewise could have created a separate, gated platform for younger children

12 that excludes adults. If supported by age verification using facial recognition (a service that is

13 widely commercially available), the company could create a space for young children to enjoy

14 Roblox games with very few, if any, adults present. Many digital service companies have adopted

15 separate platforms for children of young ages, including, for example, Amazon and Netflix.

16          125.    Roblox could have placed a higher age rating on its application in the iOS App Store

17 and other app stores, to signal to parents that the app presented risks for children. Roblox also could

18 have provided clear warnings to parents about the presence of sexual predators on the platform, so

19 that parents could make an informed decision about allowing their child on the platform and/or

20 educate their child on how to stay safe on the platform. Roblox could also have provided clear

21 warnings to children about the presence of sexual predators on the platform, and instructed children

22 on how to stay safe on the platform.

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26
      Carl Stroud, Horrified Dad Found Sick Messages from Paedo Predator in His Eight-Year Old
     128

27 Son’s Roblox iPad Game, The Sun (Feb. 15, 2017),
   https://www.thesun.co.uk/news/2872376/horrified-dad-found-sick-messages-from-paedo-
28 predator-in-his-eight-year-old-sons-roblox-ipad-game/.

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 1          126.   Despite these glaring failures, Roblox aggressively markets and promotes itself as

 2 an “industry leader” when it comes to child safety.129 Central to this self-serving narrative is its

 3 “accomplishments” of investing in artificial intelligence (“AI”) and machine learning systems

 4 supposedly designed to scan and monitor all communications on the app and prevent the sharing

 5 of inappropriate content and personally identifiable information.130

 6          127.   Yet this technology has proven grossly inadequate and insufficient to protect

 7 children. For example, Roblox’s filters have inexplicable omissions. While Roblox blocks certain

 8 words, like “Snap” and “Snapchat,” to supposedly prevent off-app communications, it allows

 9 workarounds such as the use of the ghost emoji (👻👻), which is widely recognized as a symbol for

10 Snapchat, or alternative spellings, like “Snappy” or “apchat.” Similarly, while the word “Discord”

11 is blocked, users can bypass this filter by using the disc emoji (💿💿) or typing variations, like

12 “iscord” or “cord.”131 That Roblox selectively blocks the words “Snap,” “Snapchat,” and “Discord”

13 reveals that Roblox is fully aware of the dangers of off-app inappropriate communications yet

14 chooses not to close these loopholes. And while Roblox prevents users from sharing phone numbers

15 in numerical format, it does nothing to stop users from spelling out the numbers.132

16          128.   Similarly, while Roblox attempts to block the word “condo”—a term that, until

17 recently, was widely used to identify sexualized experiences—countless external groups on

18 platforms like Reddit and Discord are dedicated to helping users locate new explicit content on

19 Roblox. As soon as Roblox removes one game, its ineffective safeguards allow the same game to

20 be reuploaded almost immediately from a new account, perpetuating the cycle of explicit and

21 harmful content. External groups have capitalized on Roblox’s weak moderation by guiding

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       Q1 2021 Earnings Call (May 11, 2021).
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25
       Roblox, Safety Features: Chat, Privacy & Filtering,
     130

26 https://web.archive.org/web/20240714130904/https://en.help.roblox.com/hc/en-
   us/articles/203313120-Safety-Features-Chat-Privacy-Filtering (archived Jul. 14, 2024).
27 131 Edwin Dorsey, Problems at Roblox (RBLX) #5, The Bear Cave (Oct. 17, 2024),
   https://thebearcave.substack.com/p/problems-at-roblox-rblx-5.
28 132 Id.

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 1 predators to these reuploaded games, with Fast Company easily identifying 150 Discord groups

 2 dedicated to exploiting Roblox’s lack of robust enforcement.133

 3          129.   Beyond Roblox’s ineffective technology, the company also employs a woefully

 4 inadequate number of human moderators to analyze and manage content on its platform. With only

 5 about 3,000 moderators, Roblox pales in comparison to platforms like TikTok, which, despite

 6 having only three times the number of users, employs more than ten times the number of

 7 moderators at 40,000.134 Roblox attempts to justify this disparity by claiming “[y]ou really can’t

 8 judge the quality of these moderation systems by the number of people.”135 But the reality tells a

 9 different story. Roblox’s moderators, many of them overseas contractors, report being

10 overwhelmed by an unmanageable volume of child safety reports, making it impossible to address

11 all concerns effectively and leaving countless safety issues unresolved.136

12          130.   Even the safety data that Roblox touts is flawed and only underscores the growing

13 dangers created by the company’s app. For example, Roblox proudly points to its low percentage

14 of reports to the National Center for Missing and Exploited Children (“NCMEC”)—the leading

15 U.S. nonprofit organization tasked with preventing child exploitation and assisting in the recovery

16 of missing children. Roblox claims that it accounts for less than .04% of reports made to

17 NCMEC.137 But this data is entirely self-reported and therefore depends on Roblox’s ineffective

18 content moderation and safety team. This self-reported data to NCMEC—flawed and limited as it

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       Burt Helm, Sex, Lies and Video Games: Inside Roblox’s War on Porn, Fast Company (Aug.
     133

23 19, 2020), https://www.fastcompany.com/90539906/sex-lies-and-video-games-inside-roblox-war-
   on-porn.
24 134 Carville & D’Anastosio, supra note 8.
   135
       Scott Tong & James Perkins Mastromarino, Roblox Chief Safety Officer on New Safety
25
   Features, Past Cases of Child Abuse on the Platform, WBUR (Nov. 18, 2024),
26 https://www.wbur.org/hereandnow/2024/11/18/roblox-safety-features.
   136
       Carville & D’Anastosio, supra note 8.
27 137 Scott Tong & James Perkins Mastromarino, Roblox Attempts to Bar Child Predators as Short
   Sellers Target the Popular Game Platform, WBUR (Oct. 21, 2024),
28 https://www.wbur.org/hereandnow/2024/10/21/roblox-child-predators-safety.

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 1 is—also reveals a disturbing trend: Roblox’s reports about suspected child sexual exploitation have

 2 surged over the years, from 675 reports in 2019 to 13,316 reports in 2023.138

 3          131.    Roblox also boasts that just “0.0063% of [its] total content was flagged for

 4 violating” policies. But Roblox itself controls the systems responsible for identifying and flagging

 5 violative content.139 These lower percentages are thus a reflection not of safety but of Roblox’s

 6 ability to minimize the appearance of problems through its own inadequate reporting and

 7 enforcement mechanisms. By hiding behind self-serving metrics and refusing to take meaningful

 8 action, Roblox has fostered an environment where children are subjected to irreparable harm while

 9 the company continues to reap financial rewards.

10          132.    The very existence of Roblox’s trust and safety “data” on inappropriate

11 communications to train its AI systems contradicts its claim that “one is too many” when it comes

12 to the sexual exploitation of children. This data exists only because countless instances of abuse,

13 exploitation, and predatory interactions have already occurred. Roblox’s reliance on this data to

14 train its AI systems exposes the reality that its so-called safety measures are not designed to prevent

15 these atrocities but to react to them after the damage has been done. Instead of creating a secure

16 environment where such harm never occurs and ensuring that such interactions never happen in the

17 first place, Roblox uses the suffering and trauma of children as the foundation for its trust and safety

18 systems. This cycle underscores the company’s prioritization of optics over genuine protection,

19 leaving its youngest users at the mercy of its neglect.

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   138
       National Center for Missing & Exploited Children, 2019 CyberTipline Reports by Electronic
24 Services Providers (ESP), https://www.missingkids.org/content/dam/missingkids/pdfs/2019-
   reports-by-esp.pdf; see also National Center for Missing & Exploited Children, 2023 CyberTipline
25
   Reports by Electronic Services Providers (ESP),
26 https://www.missingkids.org/content/dam/missingkids/pdfs/2023-reports-by-esp.pdf.
   139
       Vikki Blake, Roblox Reported Over 13,000 Incidents to the National Center for Missing and
27 Exploited Children in 2023, GamesIndustry.biz (Jul. 23, 2024),
   https://www.gamesindustry.biz/roblox-reported-over-13000-incidents-to-the-national-center-for-
28 missing-and-exploited-children-in-2023.

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 1          133.   Roblox’s own developers even admit that Roblox is unsafe for children.140 Online

 2 forum discussion posts are replete with developers writing that they would not allow their own

 3 children to use the platform, citing pervasive issues with Roblox’s child safety policies. Many of

 4 these posts highlight the platform’s systemic failures and suggest straightforward changes Roblox

 5 could implement to create a safer environment but has consistently ignored—for example:

 6             a. “Unfortunately, it is worse now due to Roblox’s moderation being so abysmal and

 7                 Roblox being a far more widespread platform. Creeps flock aplenty when before the

 8                 creep: kid ratio was much much lower . . . . Roblox has no interest in actually fixing

 9                 the issues so long as the bad press doesn’t end up viral.”141

10             b. “No. Roblox is not safe for children. The amount of NSFW [Not Safe for Work] I

11                 see on this platform on a daily basis is unbelievable. I’m surprised COPPA hasn’t

12                 taken any action.”142

13             c. “I believe they need to automatically rate these games for older audiences, if not,

14                 you know, removing them entirely. I could keep going on about this issue, but it’s

15                 just beating a dead horse at this point.”143

16             d. “Roblox got banned for bad moderation; Turkey banned it to ‘protect children,’ and

17                 they are not wrong. The amount of visits from 10 of these games is, in summary,

18                 100 million+. I don’t want to know how many of these children have seen nudity or

19                 even developed a p*rn addiction. But that is a big problem with Roblox doing almost

20                 nothing to prevent it.”144

21          134.   These statements, coming from individuals familiar with Roblox’s operations, paint

22 a picture of an environment rife with neglect, where harmful content flourishes, predators thrive,

23 and Roblox repeatedly fails to act—even in the face of widespread and urgent warnings.

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25
       Edwin Dorsey, Problems at Roblox (RBLX) #5, The Bear Cave (Oct. 17, 2024),
     140

26 https://thebearcave.substack.com/p/problems-at-roblox-rblx-5.
   141
       Id.
27 142 Id.
   143
       Id.
28 144 Id.

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 1              3. Roblox’s recent safety changes are woefully inadequate and fail to address

 2                 years of neglect and harm caused by its app.

 3          135.   After years of mounting pressure, Roblox recently announced changes to its child

 4 safety features. These changes were prompted not by the years of police reports and widespread

 5 media coverage but by a scathing report published by a well-known short seller accusing the

 6 platform of being a “pedophile hellscape for kids.”145 Released on October 8, 2024, the report

 7 sparked public outrage, detailing many of the issues described above that Roblox had long ignored.

 8          136.   A little more than a month later, Roblox announced a series of changes, including

 9 permanently removing the ability to message others outside of games on its app for under 13-year-

10 old users;146 giving parents a separate dashboard where they can monitor a child’s Roblox account,

11 view the child’s friend list, set spending control, and manage screen time;147 preventing games from

12 using chalkboard writings where people could get around the censoring of communications;148 and

13 implementing restrictions to stop under 13-year-old users from accessing new Roblox games that

14 are awaiting maturity ratings.149

15          137.   These changes could all have been implemented years ago. None of them involve

16 any new or groundbreaking technology. Roblox only moved forward when its stock was threatened.

17          138.   And these changes are little more than window dressing—too little, too late, and

18 woefully inadequate. Most fundamentally, Roblox still allows adults to contact and message

19 children. Roblox only banned user-to-user messaging for users under the age of 13 outside of

20 games. Predators can still message children on public chats while playing games; indeed, Roblox

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23   145
         Hindenburg Research, supra note 1.
     146
         Roblox Tightens Messaging Rules for Under-13 Users Amid Abuse Concerns, Reuters (Nov.
24   18, 2024), https://www.reuters.com/technology/roblox-tightens-messaging-rules-under-13-users-
     amid-abuse-concerns-2024-11-18/.
25   147
         Robert Booth, Roblox to Give Parents More Control Over Children’s Activity After Warnings
26   Over Grooming, The Guardian, (Nov. 18, 2024),
     https://www.theguardian.com/technology/2024/nov/18/roblox-to-hand-parents-more-control-over-
27   their-childrens-activity.
     148
         Id.
28   149
         Id.
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 1 has left child predators’ blueprint for finding children on the application intact since predators have

 2 always found children by playing games they know that children will frequent.

 3          139.    Roblox also failed to address core issues like the app’s lack of age verification and

 4 refusal to require parental consent to make an account. The restrictions described above work only

 5 if children correctly state their age during sign-up. Any child can easily bypass them—including

 6 parental controls and limits on messaging—by lying about their birthday. Roblox likewise did not

 7 commit to hiring more moderators or increasing its trust and safety budget, nor did it implement

 8 any sort of identity check to prevent registered sex offenders from making accounts.

 9          140.    In fact, recently, in April 2025, a research firm in the U.K. demonstrated just how

10 easy it still is for predators to find children and move the conversation to another application, such

11 as Snapchat or Discord, despite Roblox’s ban on direct messaging with users under the age of 13.150

12 Because Roblox still allows adult users to message children in games, predators can use the public

13 chat functions in games to groom child users and ask for their usernames on other platforms. And,

14 for chat within games, Roblox’s default settings for children under the age of 13 is to allow

15 “everyone” to chat with these children, seamlessly facilitating predators’ access to children.151 The

16 key findings from this report included that “[a]dults and children can chat with no obvious

17 supervision” and that “[t]he safety controls that exist are limited in their effectiveness and there are

18 still significant risks for children on the platform.”152

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26     Revealing Reality, A Digital Playground: The Real Guide to Roblox (Apr. 13, 2025),
     150

   https://think.revealingreality.co.uk/roblox-real-guide.
27 151 Parental Controls Overview, Roblox, https://en.help.roblox.com/hc/en-
   us/articles/30428310121620-Parental-Controls-Overview (last accessed May 10, 2025).
28 152 Revealing Reality, supra note 150.

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 9    In April 2025, a research agency demonstrated how easy it was for a 42-year-old account to find
          a five-year-old user on Roblox and get the child to move the conversation to Snapchat.153
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11          141.    Just as Roblox rolled out these changes, it simultaneously introduced a new

12 “Parties” feature in an attempt to counteract any potential loss in user engagement.154 Because

13 Roblox knew that users often turned to other apps like Discord to communicate while playing video

14 games and because Roblox knew that its safety changes would reduce key user engagement

15 metrics, it sought to capture that traffic (and revenue) and replace any loss of engagement with the

16 Parties feature. While the Parties feature is currently available only for users aged 13 and older,

17 such limitations are hollow without robust age verification. And the fact that Roblox has stated that

18 it is exploring making such a feature available to younger users demonstrates that, far from

19 prioritizing safety, Roblox’s real focus is protecting its bottom-line.155

20          142.    Roblox has also engaged in a deceptive public relations campaign using ostensibly

21 independent online safety organizations to influence the narrative around these changes. For

22 instance, Roblox has leveraged its ties to groups like the Family Online Safety Institute (“FOSI”).

23 An online parenting magazine favorably quoted Stephen Balkam, FOSI’s CEO, as endorsing

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     153
       Id.
27     Rebecca Ruiz, Roblox’s New Party Feature Makes Discord Obsolete, Mashable (Dec. 2, 2024),
     154

   https://mashable.com/article/roblox-party-discord.
28 155 Id.

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 1 Roblox’s new features as a win for child safety.156 What the article omitted, however, is that

 2 Roblox’s own Vice President of Civility and Partnerships, Tami Bhaumik, serves as FOSI’s board

 3 chair—an obvious conflict of interest.157 This calculated relationship exposes how Roblox

 4 manipulates public perception by using seemingly independent safety organizations as

 5 mouthpieces to shape the narrative in its favor.

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               Stephen Balkam’s LinkedIn post revealing his connection to Roblox in a post
19                                  praising Roblox’s changes.158

20          143.   Most recently, in April 2025, Roblox repeated this same deceptive playbook of
21 bragging about new safety features that, in reality, are glaringly deficient. This update included

22 three new features: first, allowing parents to block children from playing specific games; second,

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24
       Anna Halkidis, What Roblox’s Latest Changes Mean for Your Kids’ Online Safety, Parents
     156
25
   (Nov. 18, 2024), https://www.parents.com/roblox-new-parental-controls-8747405.
26
   157
       FOSI Welcomes Roblox Vice President as New Board Chair, FOSI (Oct. 12, 2022),
   https://www.fosi.org/about-press/fosi-welcomes-roblox-vice-president-as-new-board-chair.
27 158 LinkedIn, Stephen Balkam’s Post, https://www.linkedin.com/posts/stephenbalkam_what-
   robloxs-latest-changes-mean-for-your-activity-7264409332950220801-WCDF (last visited Jan. 6,
28 2025).

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 1 granting parents the power to block people on their child’s friends list; and third, giving parents

 2 visibility into the games that their child spends the most time in.159

 3          144.    None of these parental controls address the underlying deficiency with Roblox that

 4 facilitates grooming and predation on children—adult access to and communication with children.

 5 Without allowing parents to see who their child is messaging and what the messages say, parents

 6 lack the information necessary to determine which accounts to block on their child’s friend list. A

 7 list of the top twenty games that a child plays does not tell a parent which games children are

 8 interacting with adults in. Moreover, blocking specific games is ineffective when, as discussed

 9 above, inappropriate games are re-posted as soon as they are taken down. Indeed, barely a week

10 later, the U.K. research firm discussed above demonstrated just how easy it is for adults to continue

11 to find children, groom them, and then move the communications off Roblox, even after Roblox

12 announced these safety updates.160

13          145.    And, yet again, all of these controls could have been introduced years ago, as none

14 are facilitated by previously unavailable technology.

15          146.    Roblox’s deceptive playbook would not be complete without a misleading public

16 relations campaign, where industry-funded safety “experts” praise Roblox’s safety update. For

17 example, Roblox’s press release announcing these updates quotes Larry Magid, the CEO of

18 ConnectSafely, as saying, “Roblox has consistently provided parents with tools that enable their

19 children to enjoy the platform, while helping protect them against online risks. These new friend-

20 and experience-blocking tools provide parents with even more ways to help ensure their children

21 are using it safely. Safety, fun, and adventure are not mutually exclusive.”161 What the press release

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26     Matt Kaufman, New Tools for Parents to Personalize Their Child’s Experience on Roblox,
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   ROBLOX (Apr. 2, 2025), https://corp.roblox.com/newsroom/2025/04/new-parental-controls-on-
27 roblox.
   160
       A Digital Playground: The Real Guide to Roblox.
28 161 Matt Kaufman, New Tools for Parents to Personalize Their Child’s Experience on Roblox.

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 1 did not say is that ConnectSafely—a non-profit ostensibly focused on educating people about

 2 internet safety—is funded by tech companies and lists Roblox as one of its “supporters.”162

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11                           ConnectSafely’s list of supporters on its website.

12          147.   A few weeks later, Magid was quoted again in praise of Roblox, this time in a
13 Newsweek article championing Roblox as a “trusted playground” for kids: “I would put them very

14 high up on the list of companies that seem to care. They actually have a vice president of civility.

15 It’s unheard of to have somebody at that level of the company that focuses on civility. They really

16 work very hard to make it a friendly, comfortable, civil environment for young people.”163 Again,

17 this article made no mention of Magid’s organization’s financial ties to Roblox.

18          148.   FOSI CEO Stephen Balkam was also quoted in the Newsweek piece, claiming that
19 Roblox was “top-of-class” for its safety features and even repeating Roblox’s own party line that

20 safety is “part of [Roblox’s] DNA.”164 Again, this article omitted FOSI’s ties to Roblox, financial

21 and otherwise, thereby deceptively pushing a narrative of Roblox as a “safe” application for kids.

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       ConnectSafely, Supporters, https://connectsafely.org/about-us/supporters/ (last accessed May
     162

26 10, 2025).
   163
       Katherine Fung, How Roblox Became a Trusted Playground for Millions of Kids, Newsweek
27 (Apr. 23, 2025), https://www.newsweek.com/how-roblox-became-trusted-playground-millions-
   kids-2057601.
28 164 Id.

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 1    V.    FACTUAL ALLEGATIONS AS TO DISCORD

 2          A.     Discord Offers a Communications App That It Markets to Children.

 3          149.   Discord is a communications app that allows users to chat over voice, video, and

 4 text messaging. Discord is organized into chat groups called “servers,” which are topic-based

 5 virtual spaces that users can join to engage in conversations with others. Servers are organized into

 6 subtopics called “channels,” which are divided into text and voice channels. In text channels, users

 7 post messages, upload files, and share images. In voice channels, users communicate through voice

 8 or video chat and screen share. Users can also send private messages via voice, video, or text.

 9          150.    Launched in 2015, Discord quickly became the top app for gamers looking to

10 communicate while playing videogames. The company’s founders shared a love of video games

11 and created a service for gamers to seamlessly communicate with each other. Discord has since

12 expanded to include a wider audience of anyone looking to communicate with others about an

13 endless array of topics. As Discord puts it, “Discord is now where the world talks, hangs out, and

14 builds relationships”—“Discord lets anyone create a space to find belonging.”165

15          151.   Although many users on Discord are adults, Discord directly markets its app to

16 young users. For example, Discord advertises its functionality for school clubs and offers “Student

17 Hubs,” which are “dedicated places for students on Discord that make it easy to meet classmates

18 from your own school, discover their communities on Discord, and share your servers for your

19 fellow classmates to join.”166 Discord also markets to young users with features such as “custom

20 emoji, stickers, soundboard effects and more to add your personality to your voice, video or text

21 chat.” 167 According to Discord, these features are designed to “make your group chats more fun.”168

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24
       Discord, Create Space for Everyone to Find Belonging, https://discord.com/company (last
     165
25
   visited Feb. 11, 2025).
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   166
       Discord, Discover Your Next Favorite Campus Club in Student Hubs (Aug. 22, 2022),
   https://discord.com/blog/discover-your-next-favorite-campus-club-in-student-hubs.
27 167 Discord, Create Space for Everyone to Find Belonging, https://discord.com/company (last
   visited Feb. 11, 2025).
28 168 Id.

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 8                        Example of a custom emoji from Discord’s website.169

 9          152.   In recent years, Discord has exploded in popularity among young users, driven in

10 part by the pandemic. As The New York Times explained in its article How Discord, Born from an

11 Obscure Game, Became a Social Hub for Young People, “While adults working from home flocked

12 to Zoom, their children were downloading Discord to socialize with other young people through

13 text and audio and video calls in groups known as servers.”170 Given this influx of young people,

14 which has only grown since the pandemic, the average age of a Discord user is 16 years old.171

15          153.   Creating an account on Discord is extremely easy. Users must provide only an email

16 address, display name, username, password, and birthdate. Users can then access Discord for free

17 on their computers, tablets, and cellular devices.

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       Discord, Custom Emojis, https://support.discord.com/hc/en-us/articles/360036479811-Custom-
     169
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   Emojis#h_01H06JVDAV2VKZBTRGJDY8NBV7 (last visited Feb. 11, 2025).
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   170
       Kellen Browning, How Discord, Born from an Obscure Game, Became a Social Hub for Young
   People, N.Y. Times (Dec. 29, 2021), https://www.nytimes.com/2021/12/29/business/discord-
27 server-social-media.html.
   171
       Super League, An Introductory Look into Discord, https://www.superleague.com/post/an-
28 introductory-look-into-discord.

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13                                         Discord Sign-up Screen
14          154.    While Discord’s Terms of Service prohibit users under 13, Discord does not verify
15 age or identity. As a result, countless Discord users are under 13, many of whom state their real

16 age in their bios, tell other users their real age in chats, and post pictures showing their real age.

17 There are children as young as eight years old using Discord.172

18          155.    Although Discord offers certain safety features, Discord does not default to the
19 highest safety settings upon account creation. For example, by default, all users, including those

20 under 18, can receive direct messages from another user in the same server, allowing them to send

21 and receive private messages from strangers. And even when parents set more restrictive settings,

22 children can simply change those settings to whatever they desire.

23          156.    Certain content on Discord is “age-restricted,” meaning in theory that children under
24 18 cannot access it. Server owners can self-designate specific channels in a server as age-restricted.

25 For years, however, Discord did not allow server owners to self-designate entire servers as age-

26

27
   172
       Kellen Browning, 5 Ways Young People Are Using Discord, N.Y. Times (Dec. 29, 2021),
28 https://www.nytimes.com/2021/12/29/business/discord-users-gen-z.html.

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 1 restricted, and so minors could easily access servers with age-restricted content even if designated

 2 age-restricted channels in the server were blocked. Discord only recently provided server owners

 3 with the ability to self-designate entire servers as age-restricted.

 4          B. Discord Lures Parents into Letting Their Kids Use Discord with Promises of

 5              Safety.

 6          157.    Since its inception, Discord has assured parents that its app provides a safe place for

 7 children to spend their time interacting with others. According to Discord, “in May 2015, Discord

 8 began as a way for us to all play games together, better. And Safer.”173 “We’ve always wanted

 9 Discord to be a place where one could safely play games with friends.”174

10          158.    For years, Discord has promised that it has a “zero-tolerance policy” for anything

11 relating to the sexual exploitation of children. For example, in Discord’s July – September 2022

12 Transparency Report, Discord emphasized that it “has a zero-tolerance policy for anyone who

13 endangers or sexualizes children.”175 Similarly, in a July 2023 website post titled “Discord’s

14 Commitment to Teen and Child Safety,” Discord assured parents that it “has a zero-tolerance policy

15 for inappropriate sexual conduct with children and grooming,” with “special attention given to

16 predatory behaviors such as online enticement and the sexual extortion of children.”176

17          159.    Discord promises parents that its app is different from other communication

18 products when it comes to child safety, assuring parents that “[w]e built Discord to be different and

19 work relentlessly to make it a fun and space for teens.177 “Discord is built on Safety,” and “[s]afety

20 is at the core of everything we do and a primary area of investment as a business.”178

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23   173
         Discord, Discord Safety Boost (Mar. 28, 2017), https://discord.com/blog/discord-safety-boost.
     174
         Id.
24   175
         Discord, Discord Transparency Report: July – September 2022,
     https://discord.com/blog/discord-transparency-report-q3-2022.
25   176
         Discord, Discord’s Commitment to Teen and Child Safety (July 11, 2023),
26   https://discord.com/safety/commitment-to-teen-child-safety.
     177
         Id.
27   178
         Discord, Discord’s Commitment to a Safe and Trusted Experience (May 12, 2022),
     https://discord.com/safety/360043700632-discords-commitment-to-a-safe-and-trusted-experience;
28   https://discord.com/safety/commitment-to-teen-child-safety.
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 1          160.    Discord specifically assures parents that its app is designed to keep children safe

 2 and that it defaults to safety. Discord, for instance, in a website post titled “Settling into School

 3 with Discord,” informs parents that “[m]any teams across Discord work together to ensure that

 4 your teen finds belonging by building products and policies with safety by default.”179 And in a

 5 website post titled “Discord’s Commitment to Teen and Child Safety,” Discord promises parents

 6 that “[w]e make our products safe spaces by design and default. Safety is and will remain part of

 7 Discord’s core experience.”180

 8          161.    Likewise, according to Discord’s 2023 “Parent’s Guide to Discord,” “Discord has

 9 default settings designed to keep minors safe, such as automatically scanning direct messages for

10 explicit images and videos.”181 Those default settings, according to Discord, include “Teen Safety

11 Assist,” which (1) “automatically blur[s] media that may be sensitive in direct messages and group

12 direct messages with friends, as well as in servers,” and (2) sends “safety alerts” to teen users when

13 they receive a direct message from a user for the first time.”182

14          162.    While Discord represents that its app is designed to default to safety, it

15 simultaneously instructs parents on how to change the default safety settings to keep their child

16 safe. For years, Discord has consistently assured parents that they can use the company’s “tools to

17 protect [their children] from inappropriate content or unwanted contact.”183 Discord, for example,

18 tells parents they can turn on an “explicit image filter” that will “[a]utomatically block direct

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20   179
         Savannah Badalich, Settling into School with Discord, Discord (Sept. 28, 2021),
     https://discord.com/safety/settling-into-school-with-discord.
21   180
         Discord, Discord’s Commitment to a Safe and Trusted Experience (May 12, 2022),
22   https://discord.com/safety/360043700632-discords-commitment-to-a-safe-and-trusted-experience;
     https://discord.com/safety/commitment-to-teen-child-safety.
23   181
         Discord, Parent’s Guide to Discord,
     https://web.archive.org/web/20230714165101/https:/connectsafely.org/wp-
24   content/uploads/2021/09/Parents-Guide-to-Discord.pdf (archived July 14, 2023).
     182
         Savannah Badalich, Building a Safer Place for Teens to Hang Out, Discord (Oct. 24, 2023),
25
     https://discord.com/safety/safer-place-for-teens.
26
     183
         Discord, Helping Your Teen Stay Safe on Discord (May 12, 2022),
     https://discord.com/safety/360044153831-helping-your-teen-stay-safe-on-discord; Discord,
27   Helping Your Teen Stay Safe on Discord,
     https://web.archive.org/web/20230711200552/https://discord.com/safety/360044153831-helping-
28   your-teen-stay-safe-on-discord (archived July 11, 2023).
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 1 messages that may contain explicit images.”184 Discord also informs parents that they can disable

 2 the direct message setting that allows anyone in a server to privately message their children.

 3 Discord also promises parents that they can change their child’s “Friend request settings” to limit

 4 who can send them a friend request—i.e., “Everyone,” Friend of friends,” or “Server members.”185

 5          163.   Discord’s CEO and co-founder Jason Citron recently reiterated many these

 6 assurances nearly verbatim in his January 31, 2024 testimony to the U.S. Senate as part of its

 7 hearing on “Big Tech and the Online Child Sexual Exploitation Crisis.” Citron began his written

 8 testimony “by stating clearly that Discord has a zero-tolerance policy for content or conduct that

 9 endangers or sexualizes children.”186 Discord, according to Citron, “has a zero-tolerance policy for

10 inappropriate sexual conduct with children, meaning inappropriate sexual contact between adults

11 and teens on the service, with special attention given to predatory behaviors such as online

12 enticement and the sexual extortion of children, commonly referred to as ‘sextortion.”187

13          164.   He also emphasized Discord’s “multi-pronged approach” to child safety, including

14 the company’s “approach to product development, whereby we implement a rigorous ‘safety by

15 design’ practice when developing products.”188 As Citron elaborated, “[b]ecause safety is critical

16 to our core mission, Discord takes a ‘safety by design’ approach to our work.”189

17          165.   Citron also highlighted Discord’s “sophisticated tools” for parents to keep their

18 children safe, as well as the company’s “features designed to keep teens safe on our platform,” such

19 as Teen Safety Assist, which flags “potentially unwanted conversations to teen users in Discord”

20 and “automatically blur[s] potentially sensitive media to teens in DMs, GMS, and in servers.”190

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       Discord, Helping Your Teen Stay Safe on Discord,
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23 https://web.archive.org/web/20230711200552/https://discord.com/safety/360044153831-helping-
   your-teen-stay-safe-on-discord (archived July 11, 2023).
24 185 Id.
   186
       Hearing Before the U.S. Senate Committee on the Judiciary, Big Tech and the Online Child
25
   Exploitation Crisis, Testimony of Jason Citron, CEO and Co-Founder of Discord Inc. (Jan. 31,
26 2024), https://www.judiciary.senate.gov/imo/media/doc/2024-01-31_-_testimony_-_citron.pdf.
   187
       Id.
27 188 Id.
   189
       Id.
28 190 Id.

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 1             C.     In Reality, Discord Is a Digital and Real-life Nightmare for Children.

 2             166.   Although Discord assures parents that it has zero tolerance for content or conduct

 3 that endangers children and that its app is built on safety, the company, in fact, has created and

 4 maintains an environment in which the sexual exploitation of children is rampant and thriving. The

 5 result has been devastating, with countless children suffering irreversible harm.

 6                        1. Discord hosts and promotes dangerous and illegal sexual content.

 7             167.   Discord is overflowing with sexually explicit images and videos involving children,

 8 including anime and child sex abuse material (“CSAM”)—i.e., child pornography. Discord

 9 provides access to these materials not only to adults but also to child users, creating an ecosystem

10 that facilitates pedophilia and exposes children to this unlawful content.

11             168.   The content of this material is beyond disturbing. For example, numerous Discord

12     servers contain anime images of children being brutally assaulted and raped by male adults.

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25             Examples of images obtained on Discord servers by the National Center on Sexual
                                           Exploitation.191
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           National Center on Sexual Exploitation, Compilation of Proof,
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 1          169.   Discord is also permeated with actual child pornography, or CSAM, hosting

 2 hundreds if not thousands of servers dedicated to trading and sharing CSAM. For example, in a

 3 June 2023 article, NBC News reported that “[i]n a review of publicly listed Discord servers created

 4 in the last month,” it “identified 242 that appeared to market sexually explicit content of minors,

 5 using thinly veiled terms like ‘CP’ that refer to child sexual abuse material.”192

 6          170.   Predators themselves even admit that Discord is a go-to app for them for finding

 7 and sharing CSAM. In February 2024, a nonprofit called Protect Children released a report, “Tech

 8 Platforms Used by Online Child Sexual Abuse Offenders,” which contained survey data from

 9 anonymous individuals searching for CSAM on the dark web. That survey revealed that Discord is

10 one of their “top platforms” for searching for, viewing, or sharing CSAM.193 Based on the results

11 of this survey, the report found an “unmistakable overlap” between “the platforms most used for

12 viewing and sharing CSAM and the platforms most popular among children and young people.”194

13          171.   Through numerous well-documented and publicized cases, Discord has long been

14 aware of the proliferation of CSAM and similar material that its app enables and facilitates,

15 including because in some of these cases, Discord reported the material to the National Center for

16 Missing and Exploited Children, which then reported the material to the authorities.

17          172.   From its beginning, Discord has been at the center of numerous criminal cases

18 involving CSAM. According to court documents from a federal case involving a vast CSAM

19 enterprise and conspiracy, between 2016 and 2018, ten men “utilized chatrooms on the online

20 service ‘Discord’—an application designed for online gaming communities that allows users to

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23
   https://endsexualexploitation.org/wp-content/uploads/July-23_Proof-Section-Compilation_-
24 2023DDL_Discord.pdf.
   192
       Ben Goggin, Child Predators Are Using Discord, a Popular App Among Teens, for Sextortion
25
   and Abductions, NBC News (July 21, 2023), https://www.nbcnews.com/tech/social-
26 media/discord-child-safety-social-platform-challenges-rcna89769.
   193
       Protect Children, Tech Platforms Used By Online Child Sexual Abuse Offenders (Feb. 2024),
27 https://bd9606b6-40f8-4128-b03a-
   9282bdcfff0f.usrfiles.com/ugd/bd9606_0d8ae7365a8f4bfc977d8e7aeb2a1e1a.pdf.
28 194 Id.

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 1 engage in text chat and share images and videos—to produce and exchange child pornography.”195

 2 They pled guilty and were sentenced to long prison terms. Similarly, according to court documents

 3 in another case, between 2019 and 2020, a North Carolina man was able to use Discord to chat

 4 about and trade CSAM.196 He pled guilty and was sentenced to 240 months in federal prison.

 5          173.    Similar incidents occurred throughout 2021 and 2022. In 2021, for example, federal

 6 authorities arrested an Idaho man after locating numerous files of CSAM that he had uploaded to

 7 his Discord account.197 And in 2022, a Louisiana man pled guilty to possessing CSAM, admitting

 8 that “he created a Discord account,” that “other Discord users would share CSAM on the website,”

 9 and that he would “upload the saved CSAM from his phone to other Discord users.”198 Several

10 months later, a New York man was arrested for uploading and distributing CSAM using Discord.199

11 And two months later, a University of Florida quarterback was arrested and accused of sharing

12 CSAM on Discord.200 When the man spoke with the police after his arrest, he admitted that he had

13 been on Discord servers that “discuss, solicit, and distribute child sexual abuse material.”201

14          174.    2023 was no different. For example, at the start of the year, a New York man was

15 arrested and charged with creating and sharing CSAM through Discord after a police investigation

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17   195
         U.S. Dep’t of Justice, Ten Men Sentenced to Prison for Their Roles in a Child Exploitation
18   Enterprise and Conspiracy (Oct. 1, 2020), https://www.justice.gov/opa/pr/ten-men-sentenced-
     prison-their-roles-child-exploitation-enterprise-and-conspiracy.
19   196
         U.S. Dep’t of Justice, Man in Possession of Child Sexual Abuse Material Is Sentence to 20
     Years in Prison (Feb. 17, 2023), https://www.justice.gov/usao-wdnc/pr/man-possession-child-
20   sexual-abuse-material-sentenced-20-years-prison.
     197
         U.S. Dep’t of Justice, Nampa Man Sentenced to 6 Years in Federal Prison Possessing Child
21
     Pornography (Dec. 12, 2023), https://www.justice.gov/usao-id/pr/nampa-man-sentenced-6-years-
22   federal-prison-possessing-child-pornography.
     198
         U.S. Dep’t of Justice, Registered Sex Offender Pleads Guilty to Possession of Child Sex Abuse
23   Material (May 10, 2022), https://www.justice.gov/usao-edla/pr/registered-sex-offender-pleads-
     guilty-possession-child-sexual-abuse-material.
24   199
         News 12 Staff, Prosecutor: Phillipsburg Man Distributed Child Pornography Through
     Discord, News12 The Bronx (Sept. 28, 2022), https://bronx.news12.com/prosecutor-phillipsburg-
25
     man-distributed-child-pornography-through-discord.
26
     200
         Tim Stelloh & Antonio Planas, University of Florida Quarterback Arrested and Accused of
     Sharing Child Sexual Abuse Images on Discord, NBC News (Nov. 30, 2022),
27   https://www.nbcnews.com/news/us-news/university-florida-quarterback-arrested-allegedly-
     sharing-child-sexual-rcna59513.
28   201
         Id.
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 1 revealed that he had allegedly instructed a 13-year-old boy to provide images and videos of himself

 2 committing sex acts on a 4-year-old girl.202 The next month, a Vancouver man was found guilty of

 3 numerous charges, including distributing and possessing CSAM, based largely on communications

 4 and videos the man shared on Discord showing the sexual assault of an infant by an adult man.203

 5          175.    These incidents continued throughout 2024. In February, for example, a New Jersey

 6 man was arrested after an investigation revealed that he had uploaded to Discord a file depicting

 7 the sexual exploitation or abuse of minors.204 At the time, the man was employed at a school serving

 8 students as young as five years old. A few months later, an Oklahoma man was arrested and charged

 9 with possessing and distributing CSAM after he shared CSAM on Discord.205 Later that year, a

10 former Indiana firefighter was arrested after police learned he was trading CSAM on Discord.206

11                  2.       Discord provides a hunting ground for child-sex predators.

12          176.         Discord has also created a haven for predators seeking to groom, traffic, and

13    sexually abuse minors by providing predators with endless opportunities for unmitigated

14    interactions with children through public servers, direct messages, and video/voice chat channels.

15          177.         Discord hosts numerous servers that openly operate as spaces where children are

16    sexually exploited by predators. In its June 2023 article on Discord, NBC News reported that it

17    found numerous servers involving adults pretending to be teens to entice children into sharing

18    nude images. NBC News described several servers that explicitly solicited minors to join “not safe

19

20   202
         West New York Man Charged with Child Abuse Material, Hudson Reporter (Jan. 19, 2023),
     https://hudsonreporter.com/news/west-new-york/west-new-york-man-charged-with-child-abuse-
21
     material/.
22
     203
         Fox 12 Staff, Washougal Man Gets 108 Years for Child Rape, Creating Child Sex Assault
     Materials, Fox 12 Oregon (Mar. 25, 2023), https://www.kptv.com/2023/03/25/washougal-man-
23   gets-108-years-child-rape-creating-child-sex-assault-materials/.
     204
         Morris County Prosecutor’s Office, Jefferson Resident Arrested for Child Pornography (Feb.
24   16, 2024), https://www.morriscountynj.gov/Departments/Prosecutor/Prosecutor-Press-
     Releases/Jefferson-Resident-Arrested-for-Child-Pornography.
25   205
         Wagoner Man Arrested, Accused of Distributing Child Pornography Over Discord, Fox 23
26   News (June 25, 2024), https://www.fox23.com/news/wagoner-man-arrested-accused-of-
     distributing-child-pornography-over-discord/article_520191ec-333c-11ef-87b7-3bffc2affd71.html.
27   206
         Joe Schroeder, Docs: Ex-Indiana Firefighter Traded Porn on Discord, Dated a 17-year-old,
     Fox 59 (Sept. 4, 2024), https://fox59.com/news/indycrime/docs-ex-indiana-firefighter-traded-
28   child-porn-on-discord-dated-a-17-year-old/.
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 1    for work” communities, including one server that promoted itself on the public server database as

 2    “a community for people between the ages of 13-17. We trade nudes, we do events. Join us for

 3    the best Teen-NSFW experience <3.”207 Another server claimed to accept “little girls 5-17 only”

 4    and had chat channels with titles such as “begging-to-have-sex-chat” and “sexting-chat-with-the-

 5    server-owner.”208 Still another server directly solicited nude images from minors to gain access:

 6    “YOU NEED TO SEND A VERIFICATION PHOTO TO THE OWNER. IT HAS TO BE

 7    NUDE.”209

 8          178.    Other Discord servers are only slightly less obvious. For example, a server called

 9    “Family Hideout” centered on an adult man who called himself “Dad” and built a “family” of

10    children online.210 In this server, which was labeled “Friendly,” “Family,” and “All-Ages,”

11 the man developed relationships with children and encouraged them to take and share nude images.

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21                                Family Hideout server in March 2023.

22          179.    Other servers are more discreet yet are still widely known as places where children

23 are groomed. For instance, a server called “FurWaterSportsAndYiff” was described as “Full of

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26
       Goggin, supra note 180.
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27   208
       Id.
   209
       Id.
28 210 National Center on Sexual Exploitation, supra note 179.

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 1 minors, groom hub” by one disgusted reviewer of the server. According to the reviewer, this server

 2 was filled with minors and adults and was “[p]retty much pedophilia at its best.”211

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13                    This server existed on Discord from 2022 through at least April 2023.
14             180.   Through numerous well-documented and publicized cases, Discord has long known
15 that its app enables and facilitates the grooming, trafficking, and sexual abuse of minors. For

16 example, in its June 2023 article, NBC News reviewed publicly available information since Discord

17 was founded and identified 35 cases in the previous six years in which adults were prosecuted on

18 charges of kidnapping, grooming, or sexual assault that involved communications on Discord.212

19 Because these cases were only those that were reported, investigated, and prosecuted during that

20 time, “What we see is only the tip of the iceberg,” explained a child safety advocate.

21             181.   Over the years, countless criminal cases have exposed the critical role that Discord
22 plays in enabling and facilitating grooming and other predatory conduct. In 2022, for instance, an

23 Indiana man pled guilty to sexual exploitation of a minor and possession of CSAM after the FBI

24 discovered that he had engaged in sexually explicit conversations with an 11-year-old girl on

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     211
           Id.
28   212
           Goggin, supra note 180.
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 1 Discord and coerced the girl into sending sexually explicit images of herself.213 The girl later told

 2 police that she communicated with the man via chats, video calls, and voice calls on Discord. Later

 3 that year, an Oregan man was federally charged with child exploitation crimes following an

 4 investigation that found he had “pretended to be an Oregon teenager to convince the child to engage

 5 in sexually explicit acts during a video chat on Discord.”214

 6          182.    Similar cases were brought throughout 2023 and 2024. In March 2023, for example,

 7 a man was charged after he allegedly had a sexually explicit conversation with a 14-year-old girl

 8 and shared CSAM with her—all on Discord.215 At the time, the man was a middle-school science

 9 teacher and had engaged in this conduct at the school where he was employed. And in 2024, a

10 South Carolina man was sentenced to 20 years in federal prison after he pled guilty to numerous

11 crimes he committed against children on Discord, including coercing minor girls into performing

12 livestream sexual acts for him in a Discord call that he recorded.216 The man also made repeated

13 threats to the girls and their families, and one of the girls attempted suicide because of this abuse.

14          183.    Discord has also been at the center of numerous cases involving the kidnapping and

15 sexual assault of minors. For example, in 2021, a Virgina man was arrested and charged with

16 sexually exploiting and kidnapping a 12-year-old girl from her home in California.217 According

17

18
       Phyllis Cha, Marion County Corrections Employee Fired, Arrested Over Sexually Explicit
     213

19 Images to Girl, IndyStar (Sept. 7, 2022),
   https://www.indystar.com/story/news/crime/2022/09/07/corrections-officer-marion-county-
20 employee-sexually-explicit-messages-to-child/65781240007/.
   214
       U.S. Dep’t of Justice, Oregon Man Charged with Sexually Exploiting Minor on Discord,
21
   Additional Victims Sought (Oct. 3, 2022), https://www.justice.gov/usao-or/pr/oregon-man-
22 charged-sexually-exploiting-minor-discord-additional-victims-sought.
   215
       NJ Teacher Charged After “Sexually Explicit Conversation” with Teen, New Jersey 101.5
23 (Mar. 3, 2023), https://nj1015.com/nj-teacher-charged-after-sexually-explicit-conversation-with-
   teen/.
24 216 Alan Hovorka, Lowcountry US Army Member Who Groomed Girls, Recorded Child Porn on
   Discord Sentenced to Prison, Post & Courier (Aug. 3, 2024),
25
   https://www.postandcourier.com/news/evan-bucci-child-porn-discord-grooming/article_09cf85ce-
26 50dc-11ef-84b2-7b7358023542.html.
   217
       Dan Morse, With Children Stuck at Home During Coronavirus Shutdowns, Online Sexual
27 Predators Can Swoop In, Wash. Post (Feb. 12, 2023),
   https://www.washingtonpost.com/local/public-safety/coronavirus-lockdown-child-
28 exploitation/2021/02/04/90add6a6-462a-11eb-a277-49a6d1f9dff1_story.html.

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 1 to court documents, the man met and groomed the girl on Discord, flew to California and picked

 2 her up at her house at 2:30 a.m., and was arrested at the Denver airport during a layover.

 3          184.   Similarly, in February 2023, a Michigan man was arrested and charged with

 4 kidnapping a 14-year-old Washington girl whom he had met and groomed on Discord.218 The next

 5 month, a North Carolina man was arrested and charged with rape, child abduction, and human

 6 trafficking after police rescued a 13-year-old from a locked shed behind his house.219 According to

 7 the girl’s mother, the man had been communicating with her daughter for months on Discord before

 8 he abducted her from her home in Dallas.

 9          185.   2024 brought more of the same. In February, a Texas man was charged with human

10 trafficking and sexual assault of a 16-year-old girl whom he met and communicated with on

11 Discord.220 The girl told police that the man picked her up in Kansas and brought her to his

12 apartment in Texas, where they had sex multiple times. A few months later, a North Carolina man

13 was charged with kidnapping and raping a 12-year-old girl he had met on Discord.221 Around the

14 same time, a Pennsylvania man was arrested and charged with multiple offenses, including rape of

15 a child and indecent assault of a person less than 13 years of age.222 The police investigation

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18
       Ruth Bashinsky, Washington State Girl, 14, Who Went Missing with “Man She met on
     218

19 Discord” Near Notorious Sex Trafficking Corridor FOUND: Michigan Man Arrested over
   Kidnapping, Daily Mail (Feb. 1, 2024), https://www.dailymail.co.uk/news/article-
20 13034633/washington-state-girl-missing-discord-sex-trafficking-michigan.html.
   219
       Peter Charalambous & Alexandra Faul, Missing 13-year-old Rescued from Locked North
21
   Carolina Shed, ABC News (Mar. 14, 2023, https://abcnews.go.com/US/missing-13-year-rescued-
22 locked-north-carolina-shed/story?id=97830147.
   220
       Brittany Eubank, Man and His Mother Charged After Missing Kansas Teen Found Safe in
23 Central Texas, KVUEabc (Feb. 8, 2024), https://www.kvue.com/article/news/crime/austin-human-
   trafficking-sexual-assault-missing-kansas-teen/269-361c25e3-12a8-4ec4-8779-0f962c12e8d1.
24 221 “Under 13 Is Under 13”: Judge Responds to Attorney’s Claim That Man Charged with
   Kidnapping & Rape Believed 12-year-old Girl Was College Student, WRAL News (Apr. 16,
25
   2024), https://www.wral.com/story/under-13-is-under-13-judge-responds-to-attorney-s-claims-
26 that-man-charged-with-kidnapping-rape-believed-12-year-old-girl-was-col/21381250/.
   222
       Keith Heffintrayer, Four Men Arrested Following Investigation into Sexual Abuse of 12-year-
27 old Boy in Upper Gwynedd, NorthPennNow (Apr. 15, 2024),
   https://northpennnow.com/news/2024/apr/15/four-men-arrested-following-investigation-into-
28 sexual-abuse-of-12-year-old-boy-in-upper-gwynedd-police-say/.

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 1 revealed that the man was communicating with the 12-year-old boy on Discord, which included

 2 sexual conversations and making plans to meet.

 3          186.    Despite Discord’s repeated assurances to parents that it has a “zero tolerance” policy

 4 for the criminal acts described above and that its product is built on safety, the rampant sexual

 5 exploitation of children on Discord has gotten only worse over the years—not better. John Shehan,

 6 the Senior Vice President of the National Center for Missing and Exploited Children, emphasized

 7 that his organization has seen “explosive growth” in CSAM and exploitation on Discord.223 “There

 8 is a child exploitation issue on the platform. That’s undeniable,” he stated.

 9          187.    Indeed, for four consecutive years, the National Center on Sexual Exploitation

10 (“NCSE”) has named Discord to its “Dirty Dozen” list (which also includes Roblox, as discussed

11 above). As NCSE put it, “Discord enables exploiters to easily contact and groom children,” and

12 predators “take advantage of Discord’s dangerous designs to entice children into sending sexually

13 explicit images of themselves.224

14          188.    Discord itself confirms that this criminal conduct that it enables has only become

15 more pervasive. Discord, for example, revealed that in the fourth quarter of 2023, it received

16 416,036 reports from users regarding “Child Safety” issues, which includes CSAM.225 By the next

17 quarter, that number had grown to 1,035,166—a roughly 150% increase.226

18              4. Roblox and Discord work in tandem to facilitate child sexual exploitation.

19           189. Roblox and Discord serve as the preferred apps for predators seeking to identify and

20 then sexually exploit children. As explained above, the tried-and-true playbook these predators

21 follow is to misrepresent their age on Roblox to child users, pretending to be a fellow child, befriend

22 the vulnerable young victims, and then manipulate the children to move the conversation off

23

24   223
         Goggin, supra note 180.
     224
         National Center on Sexual Exploitation, supra note 58.
25   225
         Discord, Discord Transparency Report: January – March 2023, https://cdn.prod.website-
26   files.com/625fe439fb70a9d901e138ab/64b16dade9ba30617e30a40a_Q1%2023%20%7C%20Disc
     ord%20Transparency%20Report_%20JANUARY%20-%20MARCH%202023.pdf.
27   226
         Discord, Discord Transparency Report: January – June 2024, https://cdn.prod.website-
     files.com/625fe439fb70a9d901e138ab/67056a054d453d30491c1ac9_Discord%20Jan_Jun%20202
28   4%20Transparency%20Report.pdf.
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 1 Roblox to Discord, where they coerce the children into sending sexually explicit images or into

 2 meeting in person so they can sexually abuse them.

 3           190. Roblox and Discord designed their apps to work together seamlessly. As described

 4 above, Roblox encourages users to communicate on Discord by allowing links to Discord servers

 5 and channels to be displayed on game or group pages and by permitting users to include their

 6 Discord usernames in their Roblox profiles. Discord, for its part, enables users to link their Roblox

 7 accounts to their Discord accounts.227 Their “activity status” on Discord then shows other users,

 8 including predators, when they are playing Roblox and what game they are playing. On Discord,

 9 users can also send other users the codes for Robux gift cards to redeem on Roblox.

10          191.   Through numerous media reports and well publicized criminal cases, Roblox and

11 Discord have long known that their apps jointly enable predators to systematically harm children.

12 For example, in 2019, a Florida man was arrested after law enforcement learned that he was using

13 Roblox and Discord to target children.228 According to authorities, the man targeted children

14 between ages 10 and 12 on Roblox and then coerced them on Discord into sending sexually explicit

15 images of themselves in exchange for Robux.

16          192.   Similarly, in January 2022, a Florida man was arrested following a lengthy

17 investigation that revealed that he posed as a teen girl on Roblox to meet a 13-year-old boy and

18 then convinced to boy to send him sexually explicit images on Discord in exchange for Robux.229

19 Later that year, an Arizona man was arrested for kidnapping a 13-year-old boy he met on Roblox.230

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21   227
         YouTube, How to Link Roblox to Discord (2025),
22   https://www.youtube.com/watch?v=80ZEwlgecDM.
     228
         Max Chesnes, Deputies Say Vero Beach Man Used Popular Video Game Platforms to Target
23   Children, TCPalm (Aug. 20, 2019), https://www.tcpalm.com/story/news/crime/indian-river-
     county/2019/08/20/detectives-advise-online-safety-after-vero-beach-man-used-video-game-
24   platforms-target-minors/2059599001/.
     229
         Irene Wright, Man Blackmailed Teen Boy as He Posed as Girl on Roblox and Discord, Florida
25
     Cops Say, Miami Herald (Aug. 11, 2023),
26   https://www.miamiherald.com/news/state/florida/article278172607.html.
     230
         Jerry Lambe, Arizona Man Allegedly Kidnapped a Buy He Lured from Discord. Police Say
27   They Rescued the Victim Thanks to an “Alert Gas Station Attendant,” Law & Crime (Dec. 29,
     2022), https://lawandcrime.com/crime/arizona-man-allegedly-kidnapped-a-boy-he-lured-from-
28   discord-police-say-they-rescued-the-victim-thanks-to-an-alert-gas-station-attendant/.
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 1 According to police, the man sent sexual and inappropriate messages on Roblox to the boy and

 2 then invited him to join a Discord chat, where the man arranged to pick the boy up from his house.

 3          193.   These real-life nightmares occurred repeatedly throughout last year. In November

 4 2024, for example, the FBI arrested a Michigan man and charged him with numerous crimes related

 5 to his sexual exploitation of possibly over 100 children.231 The man told law enforcement that “he

 6 used Roblox to talk to others sexually, some of whom he allegedly knew were children,” and then

 7 transitioned the conversations to Discord and coerced the children into sending nude images.232

 8          194.   And in January this year, a Louisiana man was arrested and federally charged for

 9 sexually exploiting a teenage girl through Roblox and Discord.233 According to arrest records, the

10 man “began communicating with her on Roblox, before transitioning her to Discord,” where he

11 coerced her into sending sexually explicit images of herself.234

12          D.     Discord Knowingly Causes and Facilitates the Sexual Exploitation of Children.

13          195.   Like Roblox, Discord is overrun with harmful content and predators because the

14 company prioritizes growth, revenue, and eventual profits over child safety. For years, Discord has

15 knowingly prioritized these numbers over the safety of children through the actions it has taken

16 and decisions it has made to increase and monetize users regardless of the consequences.

17                     1. Discord prioritizes growth over the safety of children.

18          196.   Although Discord began as a communications app for gamers, its co-founders Jason

19 Citron and Stanislav Vishnevskiy soon realized that Discord appealed to a much broader audience

20 and sought to expand its user base. “We saw an opportunity to make communications easier for

21

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23
   231
       Samantha Sayles, Monroe County Man Uses Roblox, Discord, Snapchat to Sexually Assault
24 Children, ClickOnDetroit (Nov. 15, 2024),
   https://www.clickondetroit.com/news/local/2024/11/15/monroe-county-man-uses-roblox-discord-
25
   snapchat-to-sexually-exploit-children/.
   232
26     Id.
   233
       WAFB Staff, Man Accused of Internet Sex Crimes Allegedly Met Victims on Roblox, Discord,
27 WAFB (Jan. 31, 2025), https://www.wafb.com/2025/01/31/man-accused-internet-child-sex-
   crimes-allegedly-met-victims-roblox-discord/.
28 234 Id.

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 1 everyone, not just gamers,” Citron explained.235 So the company changed its motto from “Chat for

 2 gamers” to “A new way to chat with your communities and friends” and became hyper-focused on

 3 transforming into a universal communication product.236

 4          197.    Discord has since grown exponentially. In 2019, the company had 56 million

 5 monthly active users.237 But with Discord’s shift away from gaming in 2020, combined with its

 6 pandemic-driven explosion in popularity among young users, the company grew its monthly active

 7 users to 150 million by 2022.238 Today, Discord boasts over 200 million monthly active users.239

 8          198.    As Discord has grown, private investors have poured money into the company. In

 9 June 2020, Discord raised $100 million at a $3.4 billion dollar valuation.240 Just five months later,

10 the company raised another $100 million at more than double the valuation ($6.90 billion).241 In

11 early 2021, Discord rebuffed an acquisition offer from Microsoft of at least $10 billion.242 Later

12 that year, it raised another $500 million at a staggering valuation of $14.5 billion.243 While Discord

13 has remained privately held so far, the company is expected to go public this year.244

14          199.    A primary reason for investors’ interest in Discord is its user growth, putting

15 enormous pressure on the company to prioritize growing its users above all else. Growing its users

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     235
         Nathan Latka, Discord’s $879M Revenue: 25 Moves to $25B Valuation, LATKA-B2B Saas
     Blog (Jan. 15, 2025), https://blog.getlatka.com/discord-revenue/.
19   236
         Kellen Browning, How Discord, Born from an Obscure Game, Became a Social Hub for Young
     People, N.Y. Times (Dec. 29, 2021), https://www.nytimes.com/2021/12/29/business/discord-
20   server-social-media.html.
     237
         HelpLama, Discord Revenue and Usage Statistics 2025, https://helplama.com/discord-
21
     statistics/.
     238
22       Id.
     239
         Podcast Transcript, Discord CEO Jason Citron Makes the Case for a Smaller, More Private
23   Internet, The Verge (Apr. 22, 2024), https://www.theverge.com/24134914/discord-ceo-gaming-
     chat-teens-safety-moderation-decoder-interview.
24   240
         Equitybee, Discord Funding History,
     https://equitybee.com/companies/company?company=discord (last visited Feb. 11, 2025).
25   241
         Id.
26
     242
         Sarah E. Needleman, Discord Ends Deal Talks with Microsoft, Wall. St. J. (Apr. 20, 2021),
     https://www.wsj.com/articles/discord-ends-deal-talks-with-microsoft-11618938806.
27   243
         Id.
     244
         Chris Morris, These Are the Most Anticipated IPOs to Watch in 2025, FastCompany (Dec. 30,
28   2024), https://www.fastcompany.com/91243719/most-anticipated-ipos-to-watch-in-2025.
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 1 is critical to the company’s revenue and future profitability. Discord generates most of its revenue

 2 from its subscription service called Nitro, which provides users with benefits such as custom

 3 emojis, unlimited “super reactions,” and HD video streaming. As the company expanded its user

 4 base, its revenue skyrocketed from $150 million in 2020 to $600 million in 2024.245 And while for

 5 years Discord shunned advertising on its app, the company recently started selling advertisements

 6 to boost revenue by capitalizing on its massive and growing user base.246

 7          200.    Discord’s growth strategy has focused on a user-centric approach that prioritizes

 8 user preferences over child safety. As Discord CEO and co-founder Jason Citron put it, “We focus

 9 on what our users love, and that drives everything we do.”247 In practice, that has resulted in Discord

10 elevating the privacy of its users over protecting children in order to attract as many users to its app

11 as possible. For example, Discord continues to allow people to chat using fake names and does not

12 require individuals to enter their real names when registering for an account, ensuring that predators

13 will continue to flock to Discord because they can remain anonymous. And while other digital

14 platforms verify users’ ages and restrict communications between children and adults, Discord does

15 not require age verification and does not restrict communications between children and adults.

16          201.    Discord even prioritizes user privacy over child safety with a feature it recently

17 added to supposedly allow parents to monitor their children’s Discord use. In 2023, Discord created

18 its “Family Center for Parents and Guardians”—a “completely opt-in feature” that is “not

19 mandatory for teens.”248 While this feature permits parents to monitor some of their children’s

20 activity on Discord, it prohibits parents from accessing the most important information on their

21

22
       Salvatore Rodriguez & Sarah E. Needleman, Discord to Start Showing Ads for Gamers to
     245

23 Boost Revenue, Wall St. J. (Mar. 30, 2024), https://www.wsj.com/tech/discord-to-start-showing-
   ads-for-gamers-to-boost-revenue-bf5848b9.
24 246 Equitybee, Discord Funding History,
   https://equitybee.com/companies/company?company=discord (last visited Feb. 11, 2025).
25 247
       Nathan Latka, Discord’s $879M Revenue: 25 Moves to $25B Valuation, LATKA-B2B Saas
26 Blog (Jan. 15, 2025), https://blog.getlatka.com/discord-revenue/.
   248
       Discord, What Is Family Center?, https://support.discord.com/hc/en-
27 us/articles/14155039712407-What-is-Family-
   Center#:~:text=We%20value%20your%20privacy%20which,names%2C%20server%20icons%2C
28 %20and%20member (last visited Feb. 11, 2025).

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 1 accounts—the contents of their messages. As Discord tells children, “We value your privacy which

 2 is why connected accounts will not have access to the contents of your messages.”249 Discord also

 3 assures children that, with Family Center, “you have control over whether or not you use this

 4 feature, how long you want to use it for, and who you connect your account to.”250 By putting

 5 children in charge of this parental feature, Discord seeks to preserve growth of this key

 6 demographic.

 7          202.   In pursuit of growth, Discord has also chosen not to implement easy measures that

 8 would protect children but stunt user growth, such as age verification to ensure that children under

 9 13 cannot create accounts and that adults cannot misrepresent their age to children.

10          203.   Discord has also fought attempts to be held publicly accountable for the sexual

11 exploitation of children that its app enables. In November 2023, Discord’s CEO and co-founder

12 Jason Citron refused to accept service of a subpoena to testify before the U.S. Senate as part of its

13 hearing on “Big Tech and the Online Child Sexual Exploitation Crisis.”251 Citron appeared at the

14 hearing only after the Senate was forced to enlist the U.S. Marshals Service to personally subpoena

15 him—a situation the Senate called “a remarkable departure from typical practice.”252

16          204.   The National Center for Missing and Exploited Children, which internet companies

17 are by law required to report instances of child sex abuse to, also reported issues working with

18 Discord and had to rescind an invitation to become part of its Cybertipline Roundtable when the

19 company failed to “identify a senior child safety representative to attend.”253 “It was really

20 questionable, their commitment to what they’re doing on the child exploitation front,” stated John

21 Shehan, the Senior Vice President of the National Center for Missing and Exploited Children.254

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24   249
         Id.
     250
         Id.
25   251
         Senate Panel Forced to Use U.S. Marshals to Subpoena CEOs of X and Discord to Testify on
26   Protecting Kids Online, CBS News (Nov. 21, 2023), https://www.cbsnews.com/news/senate-
     panel-us-marshals-subpoenas-ceos-x-discord/.
27   252
         Id.
     253
         Goggin, supra note 180.
28   254
         Id.
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 1              2. Discord facilitates child sexual exploitation through the design of its app,

 2                  inadequate safety features, and refusal to invest in basic safety protections.

 3          205.    Discord’s pursuit of growth over child safety is reflected in numerous actions it took

 4 and decisions it made related to the design and safety of its app. Had Discord acted differently, the

 5 harm suffered by countless children would not have occurred.

 6          206.    Discord designed its app so that anyone can easily communicate with children,

 7 creating a virtual world where predators can freely target and sexually exploit children. Despite its

 8 repeated assurances to parents that its app “defaults” to safety for child accounts, Discord, in fact,

 9 designed its app to default to settings that facilitate the sexual exploitation of children.

10          207.    Discord, for example, defaults to settings that allow predators to send direct

11 messages to children. Predators often identify and target children by joining servers that are

12 populated with kids. By default, Discord allows any two people who share a server to direct

13 message each other, providing predators with an easy means of contacting and communicating with

14 children. Predators also often initiate contact with children by adding a child as a “friend” on

15 Discord so they can direct message them. By default, Discord permits children to receive friend

16 requests from “Everyone,” meaning children can receive and accept friend requests from

17 individuals whom they do not know and with whom they have no connection.

18          208.    For years, Discord also defaulted to settings that enabled predators to send children

19 sexually explicit images via direct messages. In 2017, for example, Discord introduced “Safe Direct

20 Messaging.” This feature contained three options, including “Keep me safe,” which supposedly

21 would automatically scan and delete messages that a child received containing explicit content.

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12            Discord’s description of the categories of its Safe Direct Messaging feature.255
13          209.   Consistent with Discord’s “default to safety” promise, the company long
14 represented that the “Keep me safe” option was on by default. In fact, though, Discord defaulted

15 not to this most restrictive setting but to the lower setting of “My friends are nice,” which meant

16 that Discord would not scan any images from a child’s “friend”—which could be anyone.

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21                 Discord’s “Age-Restricted Content on Discord” webpage in 2022.256
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23

24

25
       Discord, Discord Safety: Safe Messaging!,
     255

26 https://web.archive.org/web/20210203000438/https://support.discord.com/hc/en-
   us/articles/115000068672-Discord-Safety-Safe-Messaging- (archived Feb. 3, 2021).
27 256 Discord, Age-Restricted Content on Discord,
   https://web.archive.org/web/20220406085122mp_/https://discord.com/safety/360043653552-Age-
28 Restricted-Content-on-Discord (archived Apr. 6, 2022) (emphasis added).

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 1           210.    Discord later changed the labels of this feature from “Keep me safe” to “Filter all

 2    direct messages” and from “My friends are nice” to “Filter direct messages from non-friends.”257

 3    But it continued to default to the less restrictive setting: “By default, these filters are set to ‘Filter

 4    direct messages from non-friends.’ Choose ‘Filter all direct messages’ if you want all direct

 5    messages you receive to be filtered, or select ‘Do not filter direct messages’ to turn these filters

 6    off.”258

 7           211.    Although parents can change Discord’s permissive default settings to more

 8    restrictive ones, that option is meaningless because Discord enables children to modify these

 9    safety settings without parental approval. So a parent might modify the default settings so that

10    their child cannot exchange direct messages with other server members or cannot receive friend

11    requests from “Everyone,” only to have their child simply change those settings to allow these

12    unfettered interactions. As Discord puts it, “[o]ur product architecture provides each user with

13    fundamental control over their experience on Discord including who they communicate with, what

14    content they see, and what communities they join or create.”259 By doing so, Discord strips parents

15    of basic protective options that would prevent adult strangers from targeting and exploiting their

16    children. As one parent explained in calling Discord an “EXTREMELY dangerous app,” Discord

17    does not provide “any way for parents to set settings that can’t simply be undone by kids.”260

18           212.    Discord also refused to implement other simple measures that would have protected

19 children using its product. For example, despite having the ability to do so, Discord does not require

20 users to verify their age and identify when creating an account. Doing so would have prevented

21 predators from creating fake profiles and pretending to be children, which is their preferred

22 approach in targeting children and convincing them to share sexually explicit images. Discord also

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25
       Discord, Helping Your Teen Stay Safe on Discord,
     257

26 https://web.archive.org/web/20230711200552/https://discord.com/safety/360044153831-helping-
   your-teen-stay-safe-on-discord (archived July 11, 2023).
27 258 Id.
   259
       Discord, Discord Parent Hub, https://discord.com/safety-parents (last visited Feb. 11, 2025).
28 260 National Center on Sexual Exploitation, supra note 179.

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 1 could have implemented basic screening measures before allowing users on the app, which would

 2 have ensured that known predators are not permitted on the app.

 3          213.   Age and identity verification would also have prevented individuals under 13 from

 4 creating accounts on Discord. In many of the criminal cases involving the sexual exploitation of

 5 children on Discord, the children were under the age of 13. By requiring ID verification during the

 6 account sign-up process—a practice that other online products employ—Discord could have easily

 7 prevented these children from even using its app. But it chose not to, despite knowing for years

 8 that children under 13 operate freely on its environment and are targeted by predators.

 9          214.   Discord also could have placed a higher age rating on its application in the iOS App

10 Store and other app stores to signal to parents that the app presented risks for children. Discord

11 likewise could have provided clear warnings to parents about the presence of sexual predators on

12 the platform, so that parents could make an informed decision about allowing their child on the

13 platform and/or educate their child on how to stay safe on the platform. Discord could also have

14 provided clear warnings to children about the presence of sexual predators on the platform, and

15 instructed children on how to stay safe on the platform.

16          215.   Despite these glaring failures, Discord constantly promotes its technology-focused

17 “safety solutions” including its “AI-powered moderation systems.”261 But this technology has

18 proven grossly inadequate and insufficient to protect children from sexual exploitation. For

19 instance, Discord’s Teen Safety Assist feature, which it introduced in October 2023, is supposed to

20 “automatically blur media that may be sensitive in direct messages and group direct messages with

21 friends, as well as in servers,” and send “safety alerts” to teen users when they receive a direct

22 message from a user for the first time.”262 Yet this feature is “utterly defective,” according to the

23 National Center on Child Exploitation.263 As part of its annual investigation into Discord, “NCOSE

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26     Discord, Discord’s Commitment to Teen and Child Safety (July 11, 2023),
     261

   https://discord.com/safety/commitment-to-teen-child-safety.
27 262 Savannah Badalich, Building a Safer Place for Teens to Hang Out, Discord (Oct. 24, 2023),
   https://discord.com/safety/safer-place-for-teens.
28 263 National Center on Sexual Exploitation, supra note 58.

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 1 researchers were able to send sexually explicit content from an adult account to an unconnected

 2 13-year-old account, and no warning or resources were displayed.”264

 3          216.   Discord is also famously slow and ineffective at responding to child-safety issues.

 4 One mother, for example, told CNN that Discord essentially refused to help her after she reported

 5 that a man had communicated with her 10-year-old daughter and sent her links to pornography.265

 6 Following the mother’s report, Discord sent her an automated message asking for “the message

 7 links to the reported content for the team to review and take appropriate action.”266 After the mother

 8 sent the requested links, Discord never responded. “There was no help at all,” she said.267

 9          217.   Child protection groups have also repeatedly highlighted flaws in Discord’s

10 approach to child safety. For example, Denton Howard, executive director of Inhope, an

11 organization of missing and exploited children hotlines from around the world, has flagged

12 numerous problems with Discord’s approach to child safety, including “slow response times to

13 reports, communications issues when [child protection] hotlines tried to reach out, hotlines

14 receiving account warnings when they try to report CSAM, the continued hosting of communities

15 that trade and create CSAM, and evidence disappearing before hearing back from Discord.”268

16   VI.    PLAINTIFF-SPECIFIC ALLEGATIONS

17          218.   Plaintiff is a 14-year-old girl who was manipulated and groomed through

18 Defendants’ dangerous apps by a predator who ultimately attempted to rape her but was thwarted

19 only because law enforcement intervened. Plaintiff has suffered devastating and life-altering

20 psychological trauma. Her life will never be the same.

21          219.   Plaintiff was 10 years old when she first started playing on Roblox. Plaintiff’s father

22 believed that Roblox was safe for children because it was designed and marketed for kids. As

23 discussed above, Roblox spent considerable time and money publicly touting the safety and

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25   264
       Id.
26     Samantha Murphy Kelly, The Dark Side of Discord for Teens, CNN Business (Mar. 22, 2022),
     265

   https://www.cnn.com/2022/03/22/tech/discord-teens/index.html.
27 266 Id.
   267
       Id.
28 268 Goggin, supra note 180.

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 1 security of the app, which created the public perception that Roblox had created a safe environment

 2 for kids. Unbeknownst to Plaintiff’s father at the time, this was nothing more than a false façade of

 3 safety.

 4           220.   When Plaintiff was 12 years old, she began using Discord. Plaintiff’s father trusted

 5 that Discord was a safe place for Plaintiff to communicate with her friends. As discussed above,

 6 Discord spent considerable time and money publicly touting the safety and security of the app. This

 7 created the public perception that Discord had created a safe environment for kids. Unbeknownst

 8 to Plaintiff’s father at the time, this was nothing more than a false façade of safety.

 9           221.   In 2024, when Plaintiff was 13 years old, she met a man on Roblox who told her

10 that he was also 13 but was in fact an adult predator. On Roblox, the predator groomed Plaintiff,

11 exploiting her age and vulnerability to build a false emotional connection with her.

12           222.   After capturing Plaintiff’s trust, the predator intensified his grooming of Plaintiff,

13 and their interactions continued not just on Roblox but also on Discord. He sent Plaintiff graphic

14 messages describing sexual acts he intended to do to her and sent her sexually explicit images of

15 himself. The predator encouraged secretive behavior, minimized the risks to Plaintiff, and ensured

16 that Plaintiff would not reveal any of their interactions to her parents.

17           223.   The predator also used Roblox’s virtual currency Robux to coerce Plaintiff into

18 continuing to interact with him. By regularly giving Plaintiff Robux, the predator was able to

19 manipulate Plaintiff’s emotions and foster Plaintiff’s dependency on him.

20           224.   The predator ultimately convinced Plaintiff to meet him in person. Around January

21 2025, he traveled from another state to Alabama and arranged to meet Plaintiff at a fast-food

22 restaurant near her home. When the predator arrived there, he took Plaintiff to a nearby location

23 and attempted to rape her. Plaintiff resisted, and fortunately, law enforcement arrived during the

24 encounter, finding Plaintiff in a state of extreme distress. She was shirtless, with bruises on her

25 arms and legs. The predator had his genitals exposed and was attempting to forcibly remove

26 Plaintiff’s pants to sexually assault her. Police arrested the predator, who is currently incarcerated.

27           225.   Plaintiff has suffered profound harm from the grooming, manipulation, and
28 attempted rape that she experienced on Defendants’ apps. Plaintiff has engaged in self-harming

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 1 behaviors and was hospitalized twice this year for psychiatric treatment. During these

 2 hospitalizations, she was diagnosed with post-traumatic stress disorder, anxiety, and depression.

 3 She continues to suffer from severe mental health issues, including difficulty trusting others,

 4 persistent anxiety, and suicidal ideation, and she continues to need intensive therapeutic

 5 interventions. Her academic performance has plunged, and she has behavioral issues in school that

 6 were not present previously.

 7          226.    Defendants are directly responsible for the immense harm that Plaintiff has suffered.

 8 Had Plaintiff’s father known the truth about Defendants’ apps, he never would have permitted

 9 Plaintiff to use them without strict supervision. Had Defendants implemented even the most basic

10 system of screening or age and identity verification, as well as effective parental controls, Plaintiff

11 never would have interacted with this predator and never would have suffered the harm that she

12 did. Plaintiff’s life has been devastated as a direct result of Defendants’ conduct.

13 VII.     CAUSES OF ACTION

14                                     FIRST CAUSE OF ACTION

15                 FRAUDULENT CONCEALMENT AND MISREPRESENTATIONS

16                                (By Plaintiff Against Each Defendant)

17          227.    Plaintiff incorporates each and every factual allegation set forth above.

18          228.    This claim is brought against Defendants Roblox and Discord.

19          229.    As set forth in more detail above, each Defendant knew about the defective

20 conditions of its app and that the app posed serious safety risks to child users.

21          230.    Each Defendant was under a duty to tell the public the truth and to disclose the

22 defective conditions of its app and that the app posed serious safety risks to child users. Instead of

23 disclosing the truth, each Defendant engaged in a widespread public campaign to tout the safety of

24 its app in the media, and in the materials provided to potential users of the app, as described above.

25          231.     Each Defendant made numerous false representations about the safety of its app,

26 as described above, which were specific and widespread. Plaintiff’s father and the public at large

27 relied on each Defendant’s false representations in deciding to allow children to play on the app.
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 1          232.    Each Defendant was under a duty to tell the public, users, and their parents the truth

 2 and to disclose the defective conditions of its app and that the app posed serious safety risks to

 3 child users because each Defendant possessed superior knowledge about the dangers of its app

 4 through internal reviews, external studies known to each Defendant, and parent and police reports

 5 made to each Defendant.

 6          233.    Each Defendant breached its duty to the public, users, and their parents by

 7 concealing and failing to disclose the serious safety risks presented by its app. Even though each

 8 Defendant knew of those risks based on its internal reviews, external studies known to each

 9 Defendant, and parent and police reports made to each Defendant, each Defendant intentionally

10 concealed those risks to not lose users and revenue, and to induce parents to allow their children to

11 use its app. Such risks were known only to each Defendant, and the public, users, and their parents,

12 including Plaintiff’s father, could not have discovered such serious safety risks.

13          234.    The public, users, and their parents, including Plaintiff’s father, did not know of the

14 serious safety risks posed by the design of each Defendant’s app, which were known by each

15 Defendant.

16          235.    By intentionally concealing and failing to disclose defects inherent in the design of

17 its app, each Defendant knowingly and recklessly misled the public, users, and their parents,

18 including Plaintiff’s father, into believing that its app was safe for children to use.

19          236.    Each Defendant knew that its concealment, omissions, and misrepresentations were

20 material. A reasonable person, including Plaintiff’s father, would find information about the risk

21 of grooming, sexual abuse, sexual exploitation, and other serious risks associated with the use of

22 each Defendant’s app, to be important when deciding whether to allow children to use it.

23          237.    Each Defendant intended to deceive the public, users, and their parents, including

24 Plaintiff’s father, by making misrepresentations and concealing the defects in the design of its app,

25 which made the app unsafe.

26          238.    As a direct and proximate result of each Defendant’s concealment of material

27 information and misrepresentations, Plaintiff’s father was not aware and could not have been aware
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 1 of the facts that each Defendant concealed, and therefore justifiably and reasonably believed that

 2 each Defendant’s app was safe for children to use.

 3          239.    If the serious safety risks presented by the design of each Defendant’s app had been

 4 disclosed, the public, users, and their parents, including Plaintiff’s father, reasonably would have

 5 acted differently and/or would have not permitted children to use the app.

 6          240.    As a direct and proximate result of each Defendant’s concealment of material

 7 information and misrepresentations, Plaintiff sustained serious injuries and harm.

 8          241.    Each Defendant’s concealment of material information and misrepresentations were

 9 a substantial factor in causing harm to Plaintiff.

10          242.    Each Defendant’s conduct, as described above, was intentional, fraudulent, willful,

11 wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and displayed an

12 entire want of care and a conscious and depraved indifference to the consequences of its conduct,

13 including to the health, safety, and welfare of its customers, and warrants an award of punitive

14 damages in an amount sufficient to punish each Defendant and deter others from like conduct.

15          243.    Plaintiff demands judgment against each Defendant for compensatory and punitive

16 damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court

17 deems proper.

18                                   SECOND CAUSE OF ACTION

19                              NEGLIGENT MISREPRESENTATION

20                                (By Plaintiff Against Each Defendant)

21          244.    Plaintiff incorporates each and every factual allegation set forth above.

22          245.    This claim is brought against Defendants Roblox and Discord.

23          246.    As set forth in more detail above, each Defendant knew about the defective

24 conditions of its app and that the app posed serious safety risks to child users. Instead of disclosing

25 the truth, each Defendant engaged in a widespread public campaign to tout the safety of its platform

26 in the media, and in the materials provided to potential users of the app, as described above.

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 1          247.    Each Defendant made numerous false representations about the safety of its app, as

 2 described above, which were specific and widespread. Plaintiff’s father and the public at large

 3 relied on each Defendant’s false representations in deciding to allow children to play on the app.

 4          248.    By making numerous material representations downplaying any potential harm

 5 associated with its app and reassuring the public, users, and their parents, including Plaintiff, that

 6 its app was safe, each Defendant negligently misled the public, users, and their parents, including

 7 Plaintiff’s father, into believing its app was safe for children to use.

 8          249.    Each Defendant had no reasonable grounds for believing that its misrepresentations

 9 that its app was safe for children to use were true.

10          250.    As a direct and proximate result of each Defendant’s material omissions,

11 misrepresentations, and concealment of material information, Plaintiff’s father was not aware and

12 could not have been aware of the facts that each Defendant misstated, and therefore justifiably and

13 reasonably believed that each Defendant’s app was safe for use.

14          251.    As a direct and proximate result of each Defendant’s material omissions and

15 misrepresentations, Plaintiff sustained serious injuries and harm.

16          252.    Plaintiff’s father’s reliance on each Defendant’s misrepresentations about the safety

17 of its app were substantial factors in causing harm to Plaintiff.

18          253.    Each Defendant’s conduct, as described above, was intentional, fraudulent, willful,

19 wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and displayed an

20 entire want of care and a conscious and depraved indifference to the consequences of its conduct,

21 including to the health, safety, and welfare of their customers, and warrants an award of punitive

22 damages in an amount sufficient to punish them and deter others from like conduct.

23          254.    Plaintiff demands judgment against each Defendant for compensatory and punitive

24 damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court

25 deems proper.

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 1                                      THIRD CAUSE OF ACTION

 2                                      NEGLIGENCE – GENERAL

 3                               (By Plaintiff Against Each Defendant)

 4          255.   Plaintiff incorporates each and every factual allegation set forth above.

 5          256.   This claim is brought against Defendants Roblox and Discord.

 6          257.   At all relevant times, each Defendant developed, set up, managed, maintained,

 7 operated, marketed, advertised, promoted, supervised, controlled, and benefited from its respective

 8 app used by Plaintiff.

 9          258.   Each Defendant owed Plaintiff a duty to exercise reasonable care in the

10 development, setup, management, maintenance, operation, marketing, advertising, promotion,

11 supervision, and control of its app and not to create an unreasonable risk of harm from and in the

12 use of its app (including an unreasonable risk of grooming, sexual abuse, and sexual exploitation,

13 and other associated physical or mental injuries); to protect Plaintiff from unreasonable risk of

14 injury from and in the use of its app; and not to invite, encourage, or facilitate youth, such as

15 Plaintiff, to foreseeably engage in dangerous or risky behavior through, on, or as a reasonably

16 foreseeable result of using its app. These duties govern Defendants’ own specific actions and are

17 based on direct actions Defendants took in developing their apps and features.

18          259.   In addition, each Defendant owed a special relationship duty to Plaintiff to protect

19 her against harm caused by its app and employees or by other users. This special relationship duty

20 is based on the following:

21                 a. As businesses, Defendants owe a duty to protect customers against reasonably

22                     foreseeable criminal acts of third parties and other dangers known to Defendants

23                     on their apps;

24                 b. Plaintiff, as a minor, was vulnerable and dependent on Defendants for a safe

25                     environment on their apps, and Defendants have superior ability and control to

26                     provide that safety with respect to activities that they sponsor or control;

27                 c. Plaintiff relied upon Defendants for protection against third-party misuse or
28                     misconduct;

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 1                  d. The special relationship Plaintiff had with Defendants substantially benefits

 2                      Defendants through profits and growth in users and user activity. Defendants

 3                      could not successfully operate without the growth in users and user activity

 4                      generated by children;

 5                  e. Defendants were far more to Plaintiff than a business. Defendants provided

 6                      Plaintiff with opportunities for social interaction and a discrete community of

 7                      other users. Plaintiff was dependent on Defendants to provide structure,

 8                      guidance, and a safe environment;

 9                  f. Defendants have superior control over their app environments and the ability to

10                      protect their users. Defendants impose a variety of rules and restrictions to

11                      supposedly maintain a safe and orderly environment. Defendants employ

12                      internal staff to enforce these rules and restrictions and can monitor and

13                      discipline users when necessary. Defendants have the power to influence

14                      Plaintiff’s values, consciousness, relationships, and behaviors; and

15                  g. Defendants have voluntarily undertaken a responsibility to keep children safe

16                      on their apps. As alleged above, Defendants have publicly stated that they take

17                      steps to keep children safe on their apps and therefore have undertaken a duty to

18                      act reasonably in taking such steps.

19          260.    Plaintiff was a foreseeable user of each Defendant’s app.

20          261.    Each Defendant knew that minors such as Plaintiff would use its app.

21          262.    Each Defendant invited, solicited, encouraged, or reasonably should have foreseen

22 the fact, extent, and manner of Plaintiff’s use of its app.

23          263.    Each Defendant knew or, by the exercise of reasonable care, should have known,

24 that the reasonably foreseeable use of its respective app (as developed, set up, managed,

25 maintained, supervised, and operated by that Defendant) was dangerous, harmful, and injurious

26 when used by youth such as Plaintiff in a reasonably foreseeable manner.

27          264.    At all relevant times, each Defendant knew or, by the exercise of reasonable care,
28 should have known that its respective app (as developed, set up, managed, maintained, supervised,

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 1 and operated by that Defendant) posed unreasonable risks of harm to youth such as Plaintiff, which

 2 risks were known and knowable, including in light of the internal data and knowledge each

 3 Defendant had regarding its app.

 4          265.    Each Defendant knew, or by the exercise of reasonable care, should have known,

 5 that ordinary child users of its respective app, such as Plaintiff, would not have realized the potential

 6 risks and dangers of using the app, including a risk of grooming, sexual abuse, and sexual

 7 exploitation, which foreseeably can lead to a cascade of negative effects, including but not limited

 8 to physical injury, damage to self-worth, stigma and social isolation, reduced academic

 9 performance, increased risky behavior, susceptibility to future sexual exploitation, attachment

10 issues, identity confusion, and profound mental health issues for young consumers, including but

11 not limited to depression, anxiety, suicidal ideation, self-harm, post-traumatic stress disorder,

12 insomnia, eating disorders, death, and other harmful effects.

13          266.    Each Defendant’s conduct was closely connected to Plaintiff’s injuries, which were

14 highly certain to occur, as evidenced by the significance of Plaintiff’s injuries.

15          267.    Each Defendant could have avoided Plaintiff’s injuries with minimal cost,

16 including, for example, by not including certain features in its respective app which harmed

17 Plaintiff.

18          268.    Imposing a duty on Defendants would benefit the community at large.

19          269.    Imposing a duty on Defendants would not be burdensome to them because they have

20 the technological and financial means to avoid the risks of harm to Plaintiff.

21          270.    Each Defendant owed a heightened duty of care to youth users of its app because

22 children’s brains are not fully developed, meaning young people are more neurologically

23 vulnerable than adults to abusive contact facilitated by Defendants’ apps because they have a hard

24 time distinguishing between patterns of genuine friendship and grooming relationships.

25          271.    Each Defendant breached its duties of care owed to Plaintiff through its affirmative

26 malfeasance, actions, business decisions, and policies in the development, set up, management,

27 maintenance, operation, marketing, advertising, promotion, supervision, and control of its
28 respective app. These breaches are based on Defendants’ own actions in managing their own apps

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 1 made available to the public, independent of any actions taken by a third party. Those breaches

 2 include but are not limited to:

 3                 a. Including features in their apps that, as described above, are currently structured

 4                     and operated in a manner that unreasonably creates or increases the foreseeable

 5                     risk of grooming, sexual abuse, and sexual exploitation to youth, including

 6                     Plaintiff;

 7                 b. Including features in their apps that, as described above, are currently structured

 8                     and operated in a manner that unreasonably creates or increases the foreseeable

 9                     risk of harm to the physical and mental health and well-being of youth users,

10                     including Plaintiff, including but not limited to physical injury, damage to self-

11                     worth, stigma and social isolation, reduced academic performance, increased

12                     risky behavior, susceptibility to future sexual exploitation, attachment issues,

13                     identity confusion, and profound mental health issues for young consumers,

14                     including but not limited to depression, anxiety, suicidal ideation, self-harm,

15                     post-traumatic stress disorder, insomnia, eating disorders, death, and other

16                     harmful effects;

17                 c. Maintaining unreasonably dangerous features in their apps after notice that such

18                     features, as structured and operated, posed a foreseeable risk of harm to the

19                     physical and mental health and well-being of youth users;

20                 d. Facilitating unsupervised and/or hidden use of their respective apps by youth,

21                     including by adopting protocols that allow youth users to change their own

22                     safety settings or parental controls, and create multiple and private accounts; and

23                 e. Inviting children on their apps and marketing to children when Defendants knew

24                     that their apps, as designed, were not safe for children.

25          272.   Each Defendant breached its duties of care owed to Plaintiff through its

26 nonfeasance, failure to act, and omissions in the development, setup, management, maintenance,

27 operation, marketing, advertising, promotion, supervision, and control of its respective app. These
28 breaches are based on Defendants’ own actions in managing their own apps made available to the

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 1 public, independent of any actions taken by a third party. Those breaches include but are not limited

 2 to:

 3                 a. Failing to implement effective parental controls;

 4                 b. Failing to screen users before allowing them on the app;

 5                 c. Failing to implement effective parental notifications, such as when a child

 6                     messages another user, particularly an adult user, or when a child interacts with

 7                     accounts that have been blocked by other users or suspended in the past;

 8                 d. Failing to require adult users to provide a phone number when signing up for an

 9                     account;

10                 e. Failing to implement pop-up safety notices within chats and games to warn users

11                     about inappropriate behavior;

12                 f. Failing to ban IP and MAC addresses of accounts associated with known

13                     abusers;

14                 g. Failing to set default safety settings to the most protective options;

15                 h. Having an open chat function;

16                 i. Failing to provide a transcript of a child’s communications to the parent;

17                 j. Failing to implement reasonably available means to monitor for, report, and

18                     prevent the use of their apps by sexual predators to victimize, abuse, and exploit

19                     youth users;

20                 k. Failing to provide effective mechanisms for youth users and their

21                     parents/guardians to report abuse or misuse of their apps;

22                 l. Failing to implement effective protocols to verify ages and identity of all users;

23                 m. Failing to place reasonable age restrictions on their apps;

24                 n. Failing to separate adults from children on the apps by, for example, creating

25                     separate apps for children;

26                 o. Failing to adequately fund their trust and safety programs; and

27                 p. Others as set forth herein.
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 1          273.    A reasonable company under the same or similar circumstances as Defendants

 2 would have developed, set up, managed, maintained, supervised, and operated its app in a manner

 3 that is safer for and more protective of youth users like Plaintiff.

 4          274.    At all relevant times, Plaintiff used each Defendant’s app in the manner in which it

 5 was intended to be used.

 6          275.    As a direct and proximate result of each Defendant’s breach of one or more of its

 7 duties, Plaintiff was harmed. Such harms include the sexual exploitation of Plaintiff by a child

 8 predator and a cascade of resulting negative effects, including but not limited to damage to self-

 9 worth, stigma and social isolation, reduced academic performance, increased risky behavior,

10 susceptibility to future sexual exploitation, attachment issues, identity confusion, and profound

11 mental health issues such as depression, anxiety, and other harmful effects.

12          276.    Each Defendant’s breach of one or more of its duties was a substantial factor in

13 causing harms and injuries to Plaintiff.

14          277.    Plaintiff was injured from using both of Defendants’ defective apps through no fault

15 of her own. The fact that Plaintiff was injured by using both of Defendants’ apps means that

16 Defendants are each jointly and severally responsible for the injuries caused by any one of

17 Defendants’ apps and the burden shifts to Defendants to identify alternative causes of the alleged

18 injuries and apportion responsibility for the alleged injuries.

19          278.    The nature of the fraudulent and unlawful acts that created safety concerns for

20 Plaintiff are not the type of risks that are immediately apparent from using Defendants’ apps.

21          279.    Each Defendant’s conduct, as described above, was intentional, fraudulent, willful,

22 wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and displayed an

23 entire want of care and a conscious and depraved indifference to the consequences of their conduct,

24 including to the health, safety, and welfare of their customers, and warrants an award of punitive

25 damages in an amount sufficient to punish the Defendants and deter others from like conduct.

26          280.    Plaintiff demands judgment against each Defendant for compensatory and punitive

27 damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court
28 deems proper.

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 1                                   FOURTH CAUSE OF ACTION

 2                              NEGLIGENCE – FAILURE TO WARN

 3                                (By Plaintiff Against Each Defendant)

 4          281.    Plaintiff incorporates each and every factual allegation set forth above.

 5          282.    This claim is brought against Defendants Roblox and Discord.

 6          283.    At all relevant times, each Defendant designed, developed, managed, operated,

 7 tested, produced, labeled, marketed, advertised, promoted, controlled, sold, supplied, distributed,

 8 and benefited from its app used by Plaintiff.

 9          284.    Plaintiff was a foreseeable user of each Defendant’s app.

10          285.    Each Defendant knew, or by the exercise of reasonable care, should have known,

11 that use of its app was dangerous, harmful, and injurious when used in a reasonably foreseeable

12 manner by minors.

13          286.    Each Defendant knew, or by the exercise of reasonable care, should have known,

14 that ordinary minor users, such as Plaintiff, would not have realized the potential risks and dangers

15 of its app, including a risk of grooming, sexual abuse, and sexual exploitation, which can lead to a

16 cascade of harms. Those harms include but are not limited to physical injury, damage to self-worth,

17 stigma and social isolation, reduced academic performance, increased risky behavior, susceptibility

18 to future sexual exploitation, attachment issues, identity confusion, and profound mental health

19 issues for young consumers, including but not limited to depression, anxiety, suicidal ideation, self-

20 harm, post-traumatic stress disorder, insomnia, death, and other harmful effects.

21          287.    Had Plaintiff received proper or adequate warnings about the risks of each

22 Defendant’s app, Plaintiff would have heeded such warnings.

23          288.    Each Defendant knew or, by the exercise of reasonable care, should have known

24 that its app posed risks of harm to youth. These risks were known and knowable in light of

25 Defendants’ own internal data and knowledge regarding their apps at the time of development,

26 design, marketing, promotion, advertising, and distribution to Plaintiff.

27          289.    Because Defendants’ conduct created the risk that child users of their apps would
28 be subject to grooming, sexual abuse, and sexual exploitation, Defendants each owed a duty to all

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 1 reasonably foreseeable users, including but not limited to minor users and their parents, to provide

 2 adequate warnings about the risk of using Defendants’ apps that were known to Defendants, or that

 3 Defendants should have known through the exercise of reasonable care.

 4          290.   In addition, as described above, each Defendant owed a special relationship duty to

 5 Plaintiff to protect her against harm caused by its app and employees or by other users.

 6          291.   Each Defendant owed a heightened duty of care to minor users and their parents to

 7 warn about its app’s risks because children’s brains are not fully developed, resulting in a

 8 diminished capacity to make responsible decisions regarding contact with strangers online.

 9 Children are also more neurologically vulnerable than adults to abusive contact facilitated by

10 Defendants’ apps because they have a hard time distinguishing between patterns of genuine

11 friendship and grooming relationships.

12          292.   Each Defendant breached its duty by failing to use reasonable care in providing

13 adequate warnings to Plaintiff, such as failing to notify parents and the general public of the

14 following, among others:

15                 a. Defendants fail to require that children have parental approval before signing up

16                     for an account;

17                 b. Defendants fail to screen users before allowing them on their apps;

18                 c. New users of Defendants’ apps can identify themselves as minors, begin to use

19                     the app, and do so indefinitely, without ever receiving a safety warning, and

20                     without ever having to provide information so that Defendants can warn the

21                     users’ parents or guardians;

22                 d. Defendants’ apps’ default safety settings allow adults and other strangers’

23                     accounts to find, “friend,” and communicate with children’s accounts;

24                 e. Defendants’ parental control settings allowed children to modify their own

25                     parental control settings;

26                 f. Defendants’ platforms recommend that adult users and other strangers “friend”

27                     and contact child accounts;
28                 g. Defendants fail to block the IP and MAC addresses of known abusers;

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 1                 h. Adult predators use Defendants’ apps to target children for sexual exploitation,

 2                    sextortion, and CSAM;

 3                 i. Defendants’ apps enable and increase risk of exposure to predators and can

 4                    result in grooming, sexual abuse, and sexual exploitation, as well as their

 5                    resultant physical and mental injuries;

 6                 j. Sexual predators use Robux to coerce children into sending them nude photos

 7                    or engaging in other types of sexually explicit behavior;

 8                 k. Usage of Defendants’ apps can increase risky and uninhibited behavior in

 9                    children, making them easier targets to adult predators for sexual exploitation,

10                    sextortion, and CSAM;

11                 l. Usage of Defendants’ apps can normalize abuse and pornography, leading

12                    children to abuse other children either contemporaneously or later when the

13                    children are older;

14                 m. The likelihood and severity of harm is greater for children;

15                 n. The likelihood and intensity of these harmful effects is exacerbated by the

16                    interaction of each app’s features with one another;

17                 o. Defendants fail to verify ages, allowing adult predators to pose as children on

18                    Defendants’ apps;

19                 p. Defendants’ failure to verify ages allows children to bypass parental controls,

20                    safety features, and default settings; and

21                 q. Others as set forth herein.

22         293.    A reasonable company under the same or similar circumstances as Defendants

23 would have used reasonable care to provide adequate warnings to consumers, including the parents

24 of minor users, as described herein.

25         294.    At all relevant times, each Defendant could have provided adequate warnings to

26 prevent the harms and injuries described herein.

27         295.    As a direct and proximate result of each Defendant’s breach of its duty to provide
28 adequate warnings, Plaintiff was harmed and sustained the injuries set forth herein. Each

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 1 Defendant’s failure to provide adequate and sufficient warnings was a substantial factor in causing

 2 the harms to Plaintiff.

 3          296.    As a direct and proximate result of each Defendant’s failure to warn, Plaintiff

 4 requires and/or will require more healthcare and services and did incur medical, health, incidental,

 5 and related expenses.

 6          297.    Plaintiff was injured from using both of Defendants’ defective apps through no fault

 7 of her own. The fact that Plaintiff was injured by using both of Defendants’ apps means that

 8 Defendants are each jointly and severally responsible for the injuries caused by any one of

 9 Defendants’ apps and the burden shifts to Defendants to identify alternative causes of the alleged

10 injuries and apportion responsibility for the alleged injuries.

11          298.    The nature of the fraudulent and unlawful acts that created safety concerns for

12 Plaintiff are not the type of risks that are immediately apparent from using Defendants’ apps.

13          299.    The conduct of each Defendant, as described above, was intentional, fraudulent,

14 willful, wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and

15 displayed an entire want of care and a conscious and depraved indifference to the consequences of

16 its conduct, including to the health, safety, and welfare of their customers, and warrants an award

17 of punitive damages in an amount sufficient to punish each Defendant and deter others from like

18 conduct.

19          300.    Plaintiff demands judgment against each Defendant for compensatory and punitive

20 damages, together with interest, costs of suit, attorneys' fees, and all such other relief as the Court

21 deems proper.

22                                     FIFTH CAUSE OF ACTION

23                           NEGLIGENCE – UNREASONABLE DESIGN

24                                (By Plaintiff Against Each Defendant)

25          301.    Plaintiff incorporates each and every factual allegation set forth above.

26          302.    This claim is brought against Defendants Roblox and Discord.

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 1          303.   At all relevant times, each Defendant designed, developed, managed, operated,

 2 tested, produced, labeled, marketed, advertised, promoted, controlled, sold, supplied, distributed,

 3 and benefited from its respective app used by Plaintiff.

 4          304.   Each Defendant knew or, by the exercise of reasonable care, should have known,

 5 that its app was dangerous, harmful, and injurious when used by youth in a reasonably foreseeable

 6 manner.

 7          305.   Each Defendant knew or, by the exercise of reasonable care, should have known

 8 that its respective app posed risks of harm to youth. These risks were known and knowable in light

 9 of Defendants’ own internal data and knowledge regarding their apps at the time of the apps’

10 development, design, marketing, promotion, advertising, and distribution to Plaintiff.

11          306.   Each Defendant knew, or by the exercise of reasonable care, should have known,

12 that ordinary minor consumers such as Plaintiff would not have realized the potential risks and

13 dangers of its app. Those risks include grooming, sexual abuse, and sexual exploitation, which can

14 lead to a cascade of negative effects, including but not limited to physical injury, damage to self-

15 worth, stigma and social isolation, reduced academic performance, increased risky behavior,

16 susceptibility to future sexual exploitation, attachment issues, identity confusion, and profound

17 mental health issues for young consumers, including but not limited to depression, anxiety, suicidal

18 ideation, self-harm, post-traumatic stress disorder, insomnia, death, and other harmful effects.

19          307.   Each Defendant owed a duty to all reasonably foreseeable users to design a safe app.

20          308.   Each Defendant owed a heightened duty of care to minor users of its app because

21 children’s brains are not fully developed, resulting in a diminished capacity to make responsible

22 decisions regarding contact with strangers online. Children are also more neurologically vulnerable

23 than adults to abusive contact facilitated by Defendants’ apps because they have a hard time

24 distinguishing between patterns of genuine friendship and grooming relationships.

25          309.   Plaintiff was a foreseeable user of each Defendant’s app.

26          310.   Each Defendant knew that minors such as Plaintiff would use its app.

27          311.   Each Defendant breached its respective duty in designing its app.
28

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 1          312.    Each Defendant breached its respective duty by failing to use reasonable care in the

 2 design of its app by negligently designing the app with features that specifically allow predators to

 3 find, groom, exploit, and abuse children, as described herein.

 4          313.    Each Defendant breached its respective duty by designing an app that was less safe

 5 to use than an ordinary consumer would expect when used in an intended and reasonably

 6 foreseeable manner.

 7          314.    Each Defendant breached its respective duty by failing to use reasonable care in the

 8 design of its app by negligently designing its app with features as described above that created or

 9 increased the risk of grooming, sexual abuse, and sexual exploitation for children, which can lead

10 to a cascade of negative effects, including but not limited to physical injury, damage to self-worth,

11 stigma and social isolation, reduced academic performance, increased risky behavior, susceptibility

12 to future sexual exploitation, attachment issues, identity confusion, and profound mental health

13 issues for young consumers, including but not limited to depression, anxiety, suicidal ideation, self-

14 harm, post-traumatic stress disorder, insomnia, death, and other harmful effects.

15          315.    Each Defendant breached its respective duty by failing to use reasonable care to use

16 cost-effective, reasonably feasible alternative designs, including changes to the harmful features,

17 and other safety measures, to minimize the harms described herein, including but not limited to:

18                  a. Requiring children have parental approval and a parent’s email address to sign-

19                     up for an account;

20                  b. Effective parental controls;

21                  c. Effective parental notifications, including notifying parents any time a child

22                     messages another user, particularly an adult user, or notifying parents when

23                     children interact with accounts that have been blocked by other users or

24                     suspended in the past, among other controls;

25                  d. Setting default safety settings to the most protective options, including blocking

26                     direct messaging between child and adult users, or only allowing messaging

27                     between adult users and a child with the parent’s explicit permission to message
28                     the adult user;

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 1                 e. Requiring adults to provide a phone number when signing up for an account;

 2                 f. Pop-up safety notices within chats and games to warn users about inappropriate

 3                     behavior;

 4                 g. Preventing strangers from sending Robux to child accounts, and preventing

 5                     children from sending Robux to strangers’ accounts;

 6                 h. Banning IP and MAC addresses of accounts associated with known abusers;

 7                 i. Controlled chat option;

 8                 j. Providing a transcript of a child’s communications to the parent;

 9                 k. Implementing reporting protocols to allow users or visitors of Defendants’ apps

10                     to report CSAM and adult predator accounts specifically without the need to

11                     create or log in to the apps prior to reporting;

12                 l. Robust age and identity verification;

13                 m. Reasonable age restrictions;

14                 n. Separating adults from children by, for example, creating separate apps for

15                     children; and

16                 o. Others as set forth herein.

17          316.   Alternative designs that would reduce the dangerous features of Defendants’

18 respective apps were available, would have served effectively the same purpose as Defendants’

19 defectively designed apps, and would have reduced the gravity and severity of danger each

20 Defendant’s app posed minor Plaintiffs.

21          317.   A reasonable company under the same or similar circumstances as each Defendant

22 would have designed a safer app.

23          318.   At all relevant times, Plaintiff used each Defendant’s app in the manner in which it

24 was intended by each Defendant to be used.

25          319.   As a direct and proximate result of each Defendant’s breached duties, Plaintiff was

26 harmed. Each Defendant’s design of its respective app was a substantial factor in causing Plaintiff’s

27 harms and injuries.
28

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 1          320.    Plaintiff was injured from using both of Defendants’ defective apps through no fault

 2 of her own. The fact that Plaintiff was injured by using both of Defendants’ apps means that

 3 Defendants are each jointly and severally responsible for the injuries caused by any one of

 4 Defendants’ apps and the burden shifts to Defendants to identify alternative causes of the alleged

 5 injuries and apportion responsibility for the alleged injuries.

 6          321.    The nature of the fraudulent and unlawful acts that created safety concerns for

 7 Plaintiff are not the type of risks that are immediately apparent from using each Defendant’s app.

 8          322.    The conduct of each Defendant, as described above, was intentional, fraudulent,

 9 willful, wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and

10 displayed an entire want of care and a conscious and depraved indifference to the consequences of

11 its conduct, including to the health, safety, and welfare of its customers, and warrants an award of

12 punitive damages in an amount sufficient to punish each Defendant and deter others from like

13 conduct.

14          323.    Plaintiff demands judgment against each Defendant for compensatory and punitive

15 damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court

16 deems proper.

17                                     SIXTH CAUSE OF ACTION

18                                   NEGLIGENT UNDERTAKING

19                                (By Plaintiff Against Each Defendant)

20          324.    Plaintiff incorporates each and every factual allegation set forth above.

21          325.    This claim is brought against Defendants Roblox and Discord.

22          326.    Each Defendant rendered parental control services and account safety services to

23 Plaintiff’s parents.

24          327.    Defendants made numerous statements, as outlined above, claiming in substance

25 that their parental controls and account safety services were highly effective at protecting users

26 from the type of harm Plaintiff’s son suffered.

27          328.    Each Defendant knew, or reasonably should have known, that effective parental
28 control and account safety services were necessary for the protection of minor users.

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 1          329.    Each Defendant’s conduct was closely connected to Plaintiff’s injuries, which were

 2 highly certain to occur, as evidenced by the significance of Plaintiff’s injuries.

 3          330.    Each Defendant could have avoided Plaintiff’s injuries with minimal cost,

 4 including, for example, by implementing parental control and account safety services that were

 5 effective and that would prevent child users from being contacted by adult accounts or strangers’

 6 accounts generally.

 7          331.    Imposing a duty on Defendants would benefit the community at large.

 8          332.    Imposing a duty on Defendants would not be burdensome to them because they have

 9 the technological and financial means to avoid the risks of harm to children.

10          333.    Each Defendant owed a heightened duty of care to minor users and their parents to

11 implement parental control and account safety services that were effective and that would prevent

12 child users from being contacted by adult accounts or strangers’ accounts generally.

13          334.    Plaintiff’s father relied on each Defendant exercising reasonable care in undertaking

14 to render parental control and account safety services.

15          335.    Each Defendant breached its duty of undertaking by failing to use reasonable care

16 in rendering its parental control and account safety services to prevent child users from being

17 contacted by adult accounts or strangers’ accounts generally.

18          336.    Each Defendant failed to exercise reasonable care in rendering these parental control

19 and account safety services.

20          337.    Each Defendant’s failure to exercise reasonable care increased the risk of, and was

21 a substantial factor in causing harm to Plaintiff.

22          338.    Plaintiff was harmed by her father’s reliance on Defendants to provide effective

23 parental control and account safety services.

24          339.    Each Defendant’s breach of one or more of its duties was a substantial factor in

25 causing harms and injuries to Plaintiff.

26          340.    Plaintiff was injured from using both of Defendants’ defective apps through no fault

27 of her own. The fact that Plaintiff was injured by using both of Defendants’ apps means that
28 Defendants are each jointly and severally responsible for the injuries caused by any one of

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 1 Defendants’ apps and the burden shifts to Defendants to identify alternative causes of the alleged

 2 injuries and apportion responsibility for the alleged injuries.

 3          341.    The nature of the fraudulent and unlawful acts that created safety concerns for

 4 Plaintiff are not the type of risks that are immediately apparent from using Defendants’ apps.

 5          342.    The conduct of each Defendant, as described above, was intentional, fraudulent,

 6 willful, wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and

 7 displayed an entire want of care and a conscious and depraved indifference to the consequences of

 8 their conduct, including to the health, safety, and welfare of its customers, and warrants an award

 9 of punitive damages.

10          343.    Plaintiff demands judgment against each Defendant for compensatory and punitive

11 damages, together with interest, costs of suit, attorneys' fees, and all such other relief as the Court

12 deems proper.

13                                  SEVENTH CAUSE OF ACTION

14                             STRICT LIABILITY – DESIGN DEFECT

15                                (By Plaintiff Against Each Defendant)

16          344.    Plaintiff incorporates each and every factual allegation set forth above.

17          345.    This claim is brought against Defendants Roblox and Discord.

18          346.    At all relevant times, each Defendant designed, developed, managed, operated,

19 tested, produced, labeled, marketed, advertised, promoted, controlled, sold, supplied, distributed,

20 and benefitted from its product used by Plaintiff.

21          347.    These products were designed, manufactured, maintained, controlled, and

22 distributed from the respective California headquarters of each Defendant.

23          348.    Each Defendant’s product was designed and intended to be a gaming and/or

24 communication product. The software and architecture of each product is the same for every user

25 that logs on or signs up for an account. These products are uniformly defective and pose the same

26 danger to each minor user.

27          349.    Each Defendant’s product is distributed and sold to the public through retail
28 channels (e.g., the Apple App “Store” and the Google Play “Store”).

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 1           350.   Each Defendant’s product is marketed and advertised to the public for the personal

 2 use of the end-user/consumer.

 3           351.   Each Defendant defectively designed its product to allow children to come into

 4 contact with child predators. Children are particularly unable to appreciate the risks posed by the

 5 products.

 6           352.   The defects in the design of each Defendant’s product existed prior to the release of

 7 these products to Plaintiff and the public, and there was no substantial change to Defendants’

 8 products between the time of their upload by each Defendant to public or retail channels (e.g., the

 9 App Store or Google Play) and the time of their distribution to Plaintiff via download or URL

10 access.

11           353.   Plaintiff used these products as intended, and each Defendant knew or, by the

12 exercise of reasonable care, should have known that Plaintiff would use these products without

13 inspection for its dangerous nature.

14           354.   Each Defendant defectively designed its product to appeal to adult predators by

15 making it easy to find children and enabled their contact, grooming, sexual exploitation, and sexual

16 abuse of children, including Plaintiff.

17           355.   Each Defendant failed to test the safety of the features it developed and implemented

18 for use on its product. When each Defendant did perform some product testing and had knowledge

19 of ongoing harm, it failed to adequately remedy its product’s defects or warn Plaintiff.

20           356.   Each Defendant’s product is defective in design and poses a substantial likelihood

21 of harm for the reasons set forth herein, because the products fail to meet the safety expectations

22 of ordinary consumers when used in an intended or reasonably foreseeable manner, and because

23 the products are less safe than an ordinary consumer would expect when used in such a manner.

24 Children and teenagers are among the ordinary consumers of Defendants’ products. Indeed, each

25 Defendant markets, promotes, and advertises its respective product to pre-teen and young

26 consumers. Pre-teen and young consumers, and their parents and guardians, do not expect

27 Defendants’ products to expose them to predators when the products are used in their intended
28 manner by their intended audience. They do not expect the features embedded by Defendants in

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 1 their products to make it easy for child predators to sign-up for accounts and find children, groom

 2 children, and sexually exploit children. They do not expect Defendants’ revenue and profits to be

 3 directly tied to predators’ extortion of children.

 4          357.   Each Defendant’s product is likewise defectively designed in that it creates an

 5 inherent risk of danger; specifically, a risk of grooming, sexual abuse, and sexual exploitation,

 6 which can lead to a cascade of harms. Those harms include but are not limited to physical injury,

 7 damage to self-worth, stigma and social isolation, reduced academic performance, increased risky

 8 behavior, susceptibility to future sexual exploitation, attachment issues, identity confusion, and

 9 profound mental health issues for young consumers, including but not limited to depression,

10 anxiety, suicidal ideation, self-harm, post-traumatic stress disorder, insomnia, death, and other

11 harmful effects.

12          358.   The risks inherent in the design of each Defendant’s product significantly outweigh

13 any benefits of such design.

14          359.   Defendants could have utilized cost-effective, reasonably feasible alternative

15 designs, including changes to the problematic features described above, to minimize the harms

16 described herein, including, but not limited to:

17                 a. Requiring children have parental approval and a parent’s email address to sign-

18                     up for an account;

19                 b. Effective parental controls;

20                 c. Effective parental notifications, including notifying parents any time a child

21                     messages another user, particularly an adult user, or notifying parents when

22                     children interact with accounts that have been blocked by other users or

23                     suspended in the past, among other controls;

24                 d. Setting default safety settings to the most protective options, including blocking

25                     direct messaging between child and adult users, or only allowing messaging

26                     between adult users and a child with the parent’s explicit permission to message

27                     the adult user;
28                 e. Requiring adults to provide a phone number when signing up for an account;

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 1                 f. Pop-up safety notices within chats and games to warn users about inappropriate

 2                     behavior;

 3                 g. Preventing strangers from sending Robux to child accounts, and preventing

 4                     children from sending Robux to strangers’ accounts;

 5                 h. Banning IP and MAC addresses of accounts associated with known abusers;

 6                 i. Controlled chat option;

 7                 j. Providing a transcript of a child’s communications to the parent;

 8                 k. Implementing reporting protocols to allow users or visitors of Defendants’

 9                     products to report child sex abuse material and adult predator accounts

10                     specifically without the need to create or log in to the products prior to reporting;

11                 l. Robust age and identity verification;

12                 m. Reasonable age restrictions;

13                 n. Separating adults from children by, for example, creating separate apps for

14                     children; and

15                 o. Others as set forth herein.

16          360.   Alternative designs were available that would prevent child predators from finding,

17 grooming, and exploiting children, and which would have served effectively the same purpose of

18 Defendants’ products while reducing the gravity and severity of danger posed by those products’

19 defects.

20          361.   Plaintiff used Defendants’ respective products as intended or in reasonably

21 foreseeable ways.

22          362.   The physical, emotional, and economic injuries of Plaintiff were reasonably

23 foreseeable to Defendants at the time of their products’ development, design, advertising,

24 marketing, promotion, and distribution.

25          363.   Each Defendant’s product was defective and unreasonably dangerous when it left

26 each Defendant’s respective possession and control. The defects continued to exist through the

27 products’ distribution to and use by consumers, including Plaintiff, who used the products without
28 any substantial change in the products’ condition.

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 1          364.    As manufacturers, designers and seller, each Defendant had a duty to inform

 2 themselves with the best knowledge of the risks and the defects of its product and each Defendant

 3 had such knowledge. Their victims, including Plaintiff, were powerless to protect themselves

 4 against unknown harms, and Defendants should bear the costs of their injuries.

 5          365.    Plaintiff was injured as a direct and proximate result of each Defendant’s respective

 6 defective designs as described herein. The defective design of the products used by Plaintiff was a

 7 substantial factor in causing harms to Plaintiff.

 8          366.    As a direct and proximate result of each Defendant’s respective product’s defective

 9 design, Plaintiff suffered serious and dangerous injuries.

10          367.    As a direct and proximate result of each Defendant’s product’s defective design,

11 Plaintiff requires and/or will require more healthcare and services and did incur medical, health,

12 incidental, and related expenses.

13          368.    Plaintiff was injured from using both of Defendants’ defective products through no

14 fault of her own. The fact that Plaintiff was injured by using both of Defendants’ products means

15 that Defendants are each jointly and severally responsible for the injuries caused by any one of

16 Defendants’ products and the burden shifts to Defendants to identify alternative causes of the

17 alleged injuries and apportion responsibility for the alleged injuries.

18          369.    The nature of the fraudulent and unlawful acts that created safety concerns for

19 Plaintiff are not the type of risks that are immediately apparent from using Defendants’ respective

20 products.

21          370.    The conduct of each Defendant, as described above, was intentional, fraudulent,

22 willful, wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and

23 displayed an entire want of care and a conscious and depraved indifference to the consequences of

24 its conduct, including to the health, safety, and welfare of its customers, and warrants an award of

25 punitive damages in an amount sufficient to punish each Defendant and deter others from like

26 conduct.

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 1          371.    Plaintiff demands judgment against each Defendant for compensatory and punitive

 2 damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court

 3 deems proper.

 4                                   EIGHTH CAUSE OF ACTION

 5                           STRICT LIABILITY – FAILURE TO WARN

 6                                (By Plaintiff Against Each Defendant)

 7          372.    Plaintiff incorporates each and every factual allegation set forth above.

 8          373.    This claim is brought against Defendants Roblox and Discord.

 9          374.    At all relevant times, each Defendant designed, developed, managed, operated,

10 tested, produced, labeled, marketed, advertised, promoted, controlled, sold, supplied, distributed,

11 and benefitted from its product used by Plaintiff.

12          375.    These products were designed, manufactured, maintained, controlled and

13 distributed from the respective California headquarters of each Defendant.

14          376.    Each Defendant’s product was designed and intended to be a gaming and/or

15 communication product. The software and architecture of each product is the same for every user

16 that logs on or signs up for an account. These products are uniformly defective and pose the same

17 danger to each minor user.

18          377.    Each Defendant’s product is distributed and sold to the public through retail

19 channels (e.g., the Apple App “Store” and the Google Play “Store”).

20          378.    Each Defendant sold and distributed its respective product to Plaintiff in a defective

21 and unreasonably dangerous condition by failing to adequately warn about the risk of harm to youth

22 as described herein, including a risk of grooming, sexual abuse, and sexual exploitation, which can

23 lead to a cascade of harms. Those harms include but are not limited to physical injury, damage to

24 self-worth, stigma and social isolation, reduced academic performance, increased risky behavior,

25 susceptibility to future sexual exploitation, attachment issues, identity confusion, and profound

26 mental health issues for young consumers including but not limited to depression, anxiety, suicidal

27 ideation, self-harm, post-traumatic stress disorder, insomnia, death, and other harmful effects.
28

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 1          379.    Defendants were in the best position to know the dangers their products posed to

 2 consumers, including Plaintiff, as they had superior knowledge of the risks and dangers posed by

 3 their products and had exclusive knowledge of these risks at the time of development, design,

 4 marketing, promotion, advertising and distribution. Defendants had exclusive control of their

 5 products at all times relevant to this litigation.

 6          380.    Each Defendant’s respective product is dangerous, to an extent beyond that

 7 contemplated by the ordinary user who used Defendants’ products, because they enable predators

 8 to find, groom, abuse, and exploit children.

 9          381.    Each Defendant knew or, by the exercise of reasonable care, should have known

10 that its respective product posed risks of harm to youth considering its own internal data and

11 knowledge regarding its product at the time of development, design, marketing, promotion,

12 advertising, and distribution.

13          382.    These risks were known and knowable in light of Defendants’ own internal data and

14 knowledge regarding their products at the time of the products’ development, design, marketing,

15 promotion, advertising, and distribution to Plaintiff.

16          383.    Defendants’ products are defective and unreasonably dangerous because, among

17 other reasons described herein, each Defendant failed to exercise reasonable care to inform users

18 that, among other things:

19                  a. Sexual predators use Defendants’ products to find, contact, groom and abuse

20                      children with alarming frequency;

21                  b. Sexual predators use Defendants’ products to solicit, produce, and distribute

22                      CSAM with alarming frequency;

23                  c. Sexual predators target young children for CSAM on Defendants’ products with

24                      alarming frequency;

25                  d. Sexual predators use Robux to coerce children into sending them nude photos

26                      or engaging in other types of sexually explicit behavior;

27                  e. Defendants’ products are designed in a way that enables and increases risk of
28                      exposure to predators and resulting sexual exploitation;

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 1                 f. Defendants’ products cause grooming, sexual abuse, and sexual exploitation,

 2                    and its resultant physical and mental injuries;

 3                 g. Use of Defendants’ products can increase risky and uninhibited behavior in

 4                    children, making them easier targets to adult predators for sexual exploitation,

 5                    sextortion, and CSAM;

 6                 h. Use of Defendants’ products can normalize abuse and pornography, leading

 7                    children to abuse other children either contemporaneously or later when the

 8                    children are older;

 9                 i. New users of Defendants’ product can identify themselves as minors, begin to

10                    use the product, and do so indefinitely, without ever receiving a safety warning,

11                    and without ever having to provide information so that Defendants can warn the

12                    users’ parents or guardians;

13                 j. Defendants’ failure to verify ages allows children to bypass parental controls,

14                    safety features, and default settings;

15                 k. The likelihood and severity of harms is greater for children;

16                 l. The likelihood and intensity of these harmful effects is exacerbated by the

17                    interaction of each product’s features with one another; and

18                 m. Others as set forth herein.

19         384.    Plaintiff was a foreseeable user of each Defendant’s product.

20         385.    Ordinary minor users would not have recognized the potential risks of Defendants’

21 products when used in a manner reasonably foreseeable to Defendants.

22         386.    Had Plaintiff received proper or adequate warnings or instructions as to the risks of

23 using each Defendant’s product, Plaintiff would have heeded the warnings and/or followed the

24 instructions.

25         387.    Each Defendant’s failures to adequately warn Plaintiff about the risks of their

26 defective products were a proximate cause and a substantial factor in the injuries sustained by

27 Plaintiff.
28

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 1          388.    Plaintiff was injured from using both of Defendants’ defective products through no

 2 fault of her own. The fact that Plaintiff was injured by using both of Defendants’ products means

 3 that Defendants are each jointly and severally responsible for the injuries caused by any one of

 4 Defendants’ products and the burden shifts to Defendants to identify alternative causes of the

 5 alleged injuries and apportion responsibility for the alleged injuries.

 6          389.    The nature of the fraudulent and unlawful acts that created safety concerns for

 7 Plaintiff are not the type of risks that are immediately apparent from using Defendants’ products.

 8          390.    The conduct of each Defendant, as described above, was intentional, fraudulent,

 9 willful, wanton, reckless, malicious, fraudulent, oppressive, extreme, and outrageous, and

10 displayed an entire want of care and a conscious and depraved indifference to the consequences of

11 its conduct, including to the health, safety, and welfare of their customers, and warrants an award

12 of punitive damages in an amount sufficient to punish each Defendant and deter others from like

13 conduct.

14          391.    Plaintiff demands judgment against each Defendant for compensatory and punitive

15 damages, together with interest, costs of suit, attorneys’ fees, and all such other relief as the Court

16 deems proper.

17 VIII.    PRAYER FOR RELIEF

18          WHEREFORE, Plaintiff demands judgment against Defendants for the above-referenced

19 claims and causes of action, and as follows:

20              1. Past, present, and future general damages, the exact amount of which has yet to be

21                  ascertained, in an amount which will confirm to proof at time of trial, to compensate

22                  Plaintiff for injuries sustained as a result of the use of Defendants’ products,

23                  including but not limited to physical pain and suffering, mental anguish, loss of

24                  enjoyment of life, emotional distress, and expenses for medical treatments;

25              2. Past, present, and future economic and special damages, according to proof at the

26                  time of trial;

27              3. Impaired earning capacity according to proof at the time of trial;
28              4. Medical expenses, past and future, according to proof at the time of trial;

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 1            5. Punitive or exemplary damages according to proof at the time of trial;

 2            6. Attorneys’ fees;

 3            7. For costs of suit incurred herein;

 4            8. Pre-judgment and post-judgment interest as provided by law;

 5            9. For nonmonetary injunctive relief; and

 6            10. For such other and further relief as the Court may deem just and proper.

 7   IX.   DEMAND FOR A JURY TRIAL

 8         392.   Plaintiff hereby demands a trial by jury on all claims so triable.

 9

10 Date: July 9, 2025                                    Respectfully submitted,

11                                                       ANAPOL WEISS

12

13                                                       By: /s/ Paige Boldt
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